(1 of 97), Page 1 of 97      Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 1 of 97




                                             CASE No. 25-2028



                      In THE UNITED STATES COURT OF APPEALS
                                    For THE NINTH CIRCUIT


                                  ASHLEY M. GJQIVIK, 011 z'n4iz'viduaZ,
                                              PIainz'   AppeIIant

                                                        v.

                                        APPLE In C ., 4 corporation,
                                              Defendant-Appellee.



                                On Appeal from the United States District Court
                                     for the Northern District of California
                                               No. 3:23-CV-04597
                                    The Honorable _Rude Edward M. Chen



                          APPELLANT'S REQUEST FOR ]UDICIAL NOTICE:
                                   EXHIBITS I: VIOLENCE


                                                                    Ashley M. Gjavik, _ID
                                                                    In Propria Personal
                                                                    2108 N. St. Ste. 4553
                                                                    Sacramento, CA, 95816
                                                                    (408) 883-4428
                                                                    legal@ashleygjovik.com
(2 of 97), Page 2 of 97   Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 2 of 97




                                 GJOVIK V. APPLE

                                           EXHIBIT A
(3 of 97), Page 3 of 97               Case: 25-2028, 05/20/2025, DkrEmry; 27.2, Page 3 of 97                                 ,              , .
    512095, 4:52 PM        RE: [EXTERNAL] Possible Envlro nmental Come; Fear of Ratsllahurl, Harassment, or Worse for Exposing It - Ashley Gjuvlk - Outiook




           Ra Outlook

           RE: IEXTERNAL] PoSsible EnvirOnmental Crime: Fear of Retaliation, Harassment, Br WorSe for
           Exposing It

           From Ashley M. Gjmrik <ash[eymgjovik@protonmail.com>
           Date Mon 9/11/2023 3:02 AM
           To     Porter, Bud <bporter@dao.sccgov.org>


           [HJ 2 attachments (6 MB]
           3250 Scott Complaint - Firlal.pdf; Gjovik v Apple Cornplaint.pdf;




           Hey Bud,

           I hope you're are doing well. I wanted to give you a head's up. I ended up resorting to filing a civil lawsuit in federal court last
           week, and among Other claims, l'm going after Apple for RICO, which will include their environmental misconduct through mail
           fraud, wire fraud, and 18 USC 229 (chemical weapons -- they leaked an impressive amount of phosphine, and arsine, and
           silane into the outdoor air at 3250 Scott Blvd).

           l'm attaching the civil complaint. You might want to give DA Rosen a heads up because one of my RICO predicate acts is the
           Thomas Moyer criminal bribery charge that DA Rosen just won the appeal of and the charge was re-instated. If you haven't
           been following that, I wrote about it here: Mpsilashleygjovik.substack.com![ Qpie-corporate-crime-update Moyer is part of the
           schemes and enterprise I allege were behind how I got sick and all the retaliation I faced .

           In the complaint, I also mentioned the conversations I had with you since Apple would have seen I was talking to you back in
           2021 (on corporate devices) and thus that bolsters my claims of predicate acts of witness intimidation and retaliation {18 USC
           1512, 1513). I wanted to ensure you knew and weren't caught by surprise on that.

           Coma to find out, when I got sick at that 3255 Scott Blvd apartment complex in 2020, it probably wasn't from the Superfund or
           Brownfield. It was probably the fact that Apple was operating a stealth semiconductor manufacturing plant at 3250 Scott Blvd,
           without proper permits and almost no abatement or monitoring tech, that was just straight up venting its solvent fumes and
           toxiwlethal gases into the outdoor air right out side our home windows. They reported nearly B tons of VOC fumes in just 2020,
           along with over 200 pounds of the now banned NMPjust released up into the air that year. My industrial hygienist report noted a
           number of their industrial chemicals, my 24/7 air monitors showed the VOC peaks around Tam and 10pm each day (like
           automated exhaust systems), and my blood rests showed exposure to arsine gas during one of the 3am choking dying spells.
           NMP turns yellow when it oxidizes and could have been behind my white clothing turning yellow where it met air flow.

           I discovered this factory in February 2023 (through my own research) & filed a complaint to a number of agencies. US EPA
           RCRA compliance and enforcement took lead and apparently conducted a surprise inspection last month (RCRA & CAA). I'm
           waiting to hear what came out of it but I had already found a number of issues myself which I included in the complaint -
           attaching that complaint here as well. I'm not sure if you would get pulled in on this since its at a federal level, and city had taken
           complete control over haz mat (pushing out county and state). But seems like something you probably want to be aware of. I'm
           sure this won't be the last of this matter with Apple exposing thousands of people to these carcinogens and toxic chemicals from
           2015-current. I'd expect cancer clusters, miscarriage clusters, and other high-risk exposure long-term outputs.

           The silicon fabrication factory venting its toxic: emissions only < 300 ft from thousands of apartment windows and an open-air
           children's playground was operated by my ex-employer Apple. Based on PRA 3. FOIA documents, and other research, l'm
           confident Apple knew no later than Nov 2020 that they were the ones who made me sick in Feb-sept 2020, and thus my
           conversations with you about my concerns would have been of interest to Apple and they would have "known" when they chose
           to retaliate, fire me in Sept2021, & try to silence me. That's part of the RICO claim.

           Let me know if any questions or if you want to talk about it more, or if you want the US EPA contacts, if you don't already have
           them.

           -Ashley




           _


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(4 of 97), Page 4 of 97              Case: 25-2028, 05/20/2025, DkrEmry; 27.2, Page 4 of 97                                  ,              , .
    512095, 4:52 PM        RE: [EXTERNAL] Possible Envlro nmental Come; Fear of Ratsllahurl, Harassment, or Worse for Exposing It - Ashley Gjuvlk - Outiook

           Ashley M. Gjnvik
           BS, JD, PMP

           Sent with Proton Mail secure email.

                - Original Message -
           On Thursday, December 15th, 2022 at 1:23 PM, Ashley M. Gjmvik <ashleymgjovik@protonmaEl.com>
           wrote:



                  Hi Bud! I hope you're well. Thank you for the email below. Understood about my own
                  whistleblower cases.

                  I just wanted to follow up to let you know that after many F O IA requests on my part, l'm finally
                  getting to the bottom of what happened at the TRW Microwave Superfund site (my Apple office
                  in Sunnyvale).

                  It appears Northrop Grumman knew since 2020 that the HVAC was pulling in the toxic waste
                  vapors 8. sending them into our indoor air. Apple appears to have learned that around May 2021.
                  EPA discovered it July 2021 - as a result of my complaints. lt appears EPA was helping Apple &
                  Northrop cover it all up for some time, and still is. I was fired Sept 92021 following an EPA
                  mandated safety inspection on Aug 19 2021 which found a number of concerns.

                  I still have open NLRB, & CA + US DOL whistleblower cases. l've also filed complaints to EPA
                  OIG & and the FBI even before I recently received the F O IA docs exposing the worst of this so
                  f ar .


                  As for actions that could be referred to your office - at this point it appears US EPA has
                  jurisdiction (not Cal EPA), and CalOSHA told me they have zero jurisdiction because it's a
                  Superfund site (which is wrong, but whatever). I don't expect US EPA to refer the matter
                  themselves since they appear to be complicit in the cover-up.

                  The building is currently owned by CalSTRS (California gov) and the faulty HVACISSD
                  configuration was set up in 2015 when there was still California Water Board oversight. (they
                  then transferred it t o U S E P A ) .

                  l'm attaching a timeline summary for you with the new F O IA discoveries - because this seems
                  like something you may want to have on your radar over the next couple years. Beyond my own
                  whistleblower cases. I'd expect when all of this starts coming to light, there to be toxic tort &
                  other negligence litigation - at least civil.

                  Let me know if you have any questions.




                  Ashley M. Gj 4vik, J.D., B.S., PMP
                  Director, A. M. Giovik Consulting, L.L.C.
                  Phone: +1 415-964-6272 (EST)
                  Personal: ashleygjovik.com | ashley_mgjovik@protonmaiLcom
                  Consulting: gjovik.co | consulting@ashleygjovik.com

                  S en t w ith proton Mail secure email.

                       Original Message -------
                  On Wednesday, February 23rd, 2022 at 12:36 PM, Porter, Bud <bporter@dao.sccgov.org>
                  wrote:


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(5 of 97), Page 5 of 97            C a s e : 25-2028,
                                              »      »   05/20/2025, DktEntry:     .       27.2, Page 5 of 97             ,                 >.
    srzw25, 4:52 PM       RE: [EXTERNAL] Possible Environmental Crime, Fear of Retsll8tlon, Harassment, or Weiss for Expnslng It - As flay Glovlk - Outlook

                          Hi Ashley,



                         The DA's Office is, for the most part, responsible for reviewing and
                         prosecuting criminal cases brought to the office by investigating agencies
                         such as local police departments. When it comes to private civil disputes, like
                         a wrongful termination case, the DA's Office does not get involved and does
                         not represent individual citizens in their complaints against other individuals
                         or businesses. We cannot give legal advice to the public, so we cannot help
                         you in that regard. As to your question about the intake process, we receive
                         reports from agencies after they have completed an investigation and they
                         have determined that there is enough evidence to present the case to the
                         DA's Office for prosecution. In your situation, as it relates to the investigation
                         of workplace vapor intrusion and/or Superfund site remediation or monitoring
                         issues, the relevant agencies that come to mind are possibly Cal/OSHA, the
                         Bay Area Air Quality Management District, USEPA, Cal/EPA including DTSC, the
                         Santa Clara County Dept. of Environmental Health, and the State Water Board.
                         I don't know whether any of those agencies would investigate your claims,
                         and we do not direct them to take action or not take action. Finally, keep in
                         mind, when it comes to environmental or workplace safety complaints, most
                         investigations do not lead to a referral to the DA's Office-even when
                         violations exist, the agency may have civil, administrative, and/or voluntary
                         compliance types of remedies available.



                         Take care,

                          Bud




                          Bud Por t er


                          Supervising Deputy District Attorney


                          Santa Clara County District Attorf-ley% O1"Hce


                          70 w. Hedding Street, WESII Wing


                          5an Jose, CA 95110


                         Phone: (408) 792-2962


                          pronouns: helhlmfhis




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                                              »      »   05/20/2025, DktEntry:     .       27.2, Page 6 of 97                               >.
    512w25, 4:52 PM       RE: [EXTERNAL] Possible Environmental Crime, Fear of Retallatlun, Harassment, or Worse for Exposing It - As flew Gjovlk - Outlook



                          From: Ashley M. Gjovik <ashleymgjovik@protonmaiI.com>
                          Sent: Monday, February 21, 2022 8:43 PM
                          To: Porter, Bud <bporter@dao.sccgov.org>
                          Subject: Re: [EXTERNAL] Possible Environmental Crime, Fear of Retaliation,
                          Harassment, or Worse for Exposing It



                         Hi Bud! I hope you're doing well.



                          I wanted to check-in again. I think I could use the SCC DA's help.



                          Since last April, I ended up blowing the whistle on Apple Inc & Northrop Grumman
                          over my Superfund Apple office. There was a long history of vapor intrusion while it
                          was vacant, then they did some limited testing, moved Apple folks in, and never
                          tested again. I expressed concerns. Apple told me several times to not talk to
                          anyone about my safety concerns. I started mentioning "labor laws" and things got
                          worse.



                          (I guess it was good I Ieamed so much from that Irvine Company apartment in
                          2020, but wow l'm getting sick of these Brownfields)



                          The responsible party for the Apple office building is Northrop Grumman who
                          acquired that company & it's HQ (TRW Microwave) a while back. It's part of the
                          "Triple Site" in Sunnyvale.



                          The previous CEO of Northrop & TRW now sits on the Apple Board of Directors as
                          the Chair of the Finance and Audit committee. I started asking Apple is they were
                          intimidating witnesses and breaking labor laws as a normal thing, or if this was
                          special because of the conflict of interest. Apple said they'd no longer answer any
                          more of my "safety questions" after that. I was emailing the Federal EPA about it all
                          starting back in Aprill'May and by July was forwarding those emails back to Apple,
                          pleading for them to do the right thing. They didn't.



                          Also, Apple realized in June there's a bunch of cracks in the floor (which is how
                          vapor intrusion occurs) and refused to test the indoor air until after they fixed the
                          cracks, even when I was sending them emails pleading they test before so I can
                          plan appropriate "cancer monitoring." I got some coworkers to take pictures of the
                          cracks before Apple went into fix them, but Apple suspended me the next day.

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(7 of 97), Page 7 of 97            Case: 25-2028, 05/20/2025, DkrEmry; 27.2, Page 7 of 97                                   ,              , .
    512095, 4:52 PM      RE: [EXTERNAL] Possible Envlro nmental Come; Fear of Ratsllahurl, Harassment, or W orse for Exposing It - Ashley Gjuvlk - Outiook




                         I filed complaints with CA DOL DIR, NLRB, US DOL, SEC, CA EPA, US EPA, etc 8.
                         was in the press frequently about it starting in August. Apple then fired me for no
                         reason on September 9, 2021.




                         I met prima facie for us Dept of Labor Whistleblower Retaliation for CERCLA, s o x ,
                         & OSHA. Apple's working on their defense for the cases. I met prima facie for
                        n u m er o u s CA D e p t o f Labor s t at u t es but DIR is paused while the feds investigate. I
                        have several charges with the US NLRB, but they're taking forever.




                        Meanwhile, Apple's managers, employees, & agents have been threatening me,
                        intimidating me, harassing me, 8. trying to coerce me to drop my charges.lt started
                        late Aug after my filings, and many of the online comments directly mention me
                        talking to the press & gov about my safety & fraud concerns as the reason for me
                        being fired. The threats include threats of: violence, assassination, bankruptcy,
                        general "ruin," blacklisting, failing moral character, etc.




                        I called the FBI a couple weeks ago and med a complaint with them but haven't
                        heard back .I left a voicemail on the US DA's system but haven't heard back. I
                        assume this is at l e a s t 18 USC 1513 & 1514.




                         I was wondering if there are stateflocal laws that are also implicated? And if so how
                         I can intake with the SCC DA?




                        Thanks!



                         All case info here: Mps:!.*'www.ashleygjovik.comfaQpIe-legal-battle.htm!




                         Threat harassment campaign info ehre:               tpsjifwww.ashIey.gjovik.comf1hreats.html




                         Info on office is
                        here; Mps:h'www.a5h|eygjovik.com!upIoads!113.47101137008339hJs_do|_-
                        _825_stewa rt_d r_-_ove rview_memo .1 4




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    512095, 4:52 PM      RE: [EXTERNAL] Possible Envlro nmental Come; Fear of Ratsllahurl, Harassment, or W orse for Exposing It - Ashley Gjuvlk - Outiook

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                         Overview here: _l;Ltps;Hwww.ash1eygjovi.k.comfashieys-agple-story.html




                         Ashley M. Giuvik, J.D. Candidate, B.S., PMP

                         ashleyg]ovik.com 1        tps:Hlinktr.ee:'ashleygjovik | +1l415-964-6272 (Signal)




                         S en t w ith Ero.ton.Ma.il Secu re Em aiL




                               - Original Message -
                         On Friday, April 16th, 2021 at 2:42 PM, Ashley Gjovik 4§gjovik@scu.edu'>
                         wrote:



                                Hi Bud,




                                It was great to meet you today. Thanks again for the call.



                                As discussed, if I have any other incidents where I'm feeling
                                threatened in the future at my new apartment (if they rise to
                                being illegal) - I will call my local police. As mentioned, I
                                encouraged the current residents to also call the police if they feel
                                threatened. Not sure what was going on with the dark car &
                                binoculars, hopefully a weird coincidence.



                                If you are interested in learning more about The Irvine Company, I
                                did some initial research and am sharing the rough annotated
                                bibliography of what I found publicly available so far below.
                                Nothing terribly revelatory, but raised a lot more questions. Hope
                                that helps. Also, attaching the email warning I received below. The
                                El Toro base he mentions is in my research.




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(9 of 97), Page 9 of 97RE: [EXTERNAL]
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                                       25-2028,      05/20/2025, DktEn.try: 27.2, Page 9 of 97                       .                 . .
                                              Environmental Crnme, Fear of Retaliation, Harassment, or Worse for Exposing It - Ashley Glove - Outlook
      5/20/25, 4152 PM

                                    If you ever want to talk about this more - specific to my old
                                    apartment - or generally about increasing accountability on
                                    these types of site - l'm always happy to chat. Thanks again for
                                    all the work you're doing. Have a great weekend!



                                    -Ashley




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                                    GJOVIK V. APPLE

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(11 of 97), Page 11 of 97
                       Case 3;9£%9l8z?s39?|§~R9/2862¢%2n§en9'Y5E"'Blfe%7<%/i'89'2`11$888§0 of 43




                S. Exhibit S: Police Report, Santa Clara Police Department, May
                   31 2022.

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               PL.'S REQ. FOR JUD. NOT. IN SUPP. oF PL.'S OPP. | CASE No. 3:23-CV-04597-EMC
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                                    GJOVIK V. APPLE

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(13 of 97), Page 13 of 97
                     Case 3¢2é?¢8§$i4°8?93n9c0588é39?81t'%93"'Wi|8J:?z33P£a13P8fg8744 of 100



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               14                                                Exilfbiti The "Severed Head"Post
               15              557.       BabyH1Jmm111g;blrd's Twitter account had just a small number of posts, almost
               16
                      entirely directed at Gjovik. BabyHummingbird also liked posts about Gjovik, including the
               17
                      "don't get Gjovik'd" posts. Babyl-Iummin8bird's fmrst "like" was a post 80111 2014 that said,
               18
               19     "Apple's Back, Better than Ever." Under information and belief, "Babyl-1u1:11lJ:lingbird" was

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                      232 18 U.s.c. § 876(c) prohibits mailing "any threat to kidnap any person or any threat to injure the
                      person of tile addressee or of another."
                                                                                    244
                     SECOND AMENDED COMPLAINT I 3123-CV-0459?-EMC                                              DECEMBER 21 2023
(14 of 97), Page 14 of 97
                     Case 3¢2é?¢8§$i4°8?93n9c0588é39?81t'%93"'Wi|8J:?z33P£a1'}=8fg874s of 100



                1             558-    On September 30 2021, Gj ovik received a box of her person] items, filll of

                2     broken glass.

                3                         Ashley M. Gjevik Qashleygjcnrik - Sep 30                                          .I.

                                          #Apple prides itself in it's packaging... but this is what arrived at my doorstep
                4                         today. My personal effects from my office, shoved haphezardly in a random box,
                                          no packing materials, infused with Superfund fumes, shards of glass, 8. spite.
                5
                                                                                   I.!5!
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                '7                                                  l
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                                                       1   **--J
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               11
               12
               13
               14             559.    011 October 1 2021, another fake Twitter account, "FenlaleInTech," commented
               15
                      on one of Gjovik's Twicer posts where Gj ovik complained she just "spent jnfin pfdfffrg of chnrtk
               16
                      ofgfass our of the some of my foor & Fa' Hue to remirtd everyone that #Apple sent me rho's box of
               17

               18     spite after taking am). my heath insurance the daft I was fired." The Apple account replied, "I

               19     drink if would :Lisa be reaffv frrrpargfid Ra pos! n picture afyour bleeding wounds w/ a meer

               20     en flfrrg out Ihefr HR people by Hnfne. At #His poof win# no! sfmwre the istdividffrrls therefor their
               21
                      mrrrmbfgirous, d'oc:.w1em'ed spitefirfrress with frorf'fji»'fr1gpIrorog1'apfric evidence!" Assumable
               22
                      Apple wanted Gjovik to call out "people by name" as a preemptive defense of individual
               23
                      liability for their actions and wanted a photo to assess liability for the physical hand. Under
               24

               25     information and belief, FemalelnTech, is Apple because the account was prunarily used to post

               26     about and to Gjovik, did not seem authentic, and made several highly suspicious

               27     Po stsfcomments .
               28


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                1            647.    On May 29 2022, Gj ovik discovered one of the items Apple mailed her from desk

                2    was emitting RF and EMF signals. Gj ovik posted about it on Twitter.260
                3

                4

                5
                                              :    ~(£»u6Ma                auhl¢yn\.s1.~u»,:.u.
                                 lllbsmlt¢f.0uTn
                6
                                                                     Also. update l.IT magnetic Held went crazy after I posted
                7                                                    on Twitter about this.

                8                                                    I waslooking at it for a good 5min+ before with zero
                                                                      JT. Then posted on Twitter. Then went hot.
                9
                                                                     Is that how a self-destruct/erase would look?
               10
               11
               12
               13
               14
               15
               16
                                                         Exhibits: The Bugged Statue
               17
                             648.    On May 30 2022, Gjovik contacted the FBI to report hacking and the bugged
               18
                     object. The FBI agent she talked to advised Gjovik to give the object to the local police.261
               19
                             649.   Several hours later Gj ovik heard someone trying to break into her apartment
               20
               21    through the front door. Gj ovik posted on Twitter about it, blaming Apple.262

               22

               23

               24

               25

               26
                     260 Twitter, Ashley Gjovik, https://twitter.com/ashleygjovik/status/1530764537611288576 ;
               27    https://twitter.com/ashleygjovik/status/1530775382626025474
                     261 Bugged items in violations ofCal. Penal Code [§§ 631, 632, 632.5, 632.6, 632.7] and US Code Title
               28    18 [§§ 2511(1)(a), (c), (d); 2701-2712].
                     262 Twitter, Ashley Gjovik, https://twitter.com/ashleygjovik/status/1531176997803679744 ;
                     https://twitter.com/ashleygjovik/status/1531177000831959042
                                                                         292
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                1                             US labor board investigating Apple employee
                                              complaints. os doubts cast on one
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                                              an;--cv-_
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                                                 Elrbf'bir.' 9ro5Mac Arficfe Hurassing Qovilr
               13
                             482.    011 September 3 2021, at 8:36am Okpo tested Gj ovik asking for her to join a
               14
                      Web Ex meeting with him in less than two hours. Okpo said, "Hi Ashfqv Good Monriffg, I would
               15

               16     like to schedule firuefor us to cormecr rorfqv as }0.'50mn PT via WebE'cfof' an update. Will rhafs

               17     2'i.we workforyou? Tfmfnkyou. " He then emailed her at 10:07am asking for the 10:30am

               18     meeting.
               19
                             483.    Per Apple's March 2022 Position Statement, Apple had already started
               20
                      mvesti8atmg Gj ovik poor to September 3 2021, however at 110 time poor to September 9 202l
               21
                      did Apple tell Gj ovik she was under investigation. Under information and belief, Okpo contacted
               22

               23     Gjevik on September 3 2021 claiming he wanted to talk to Gjovik about the investigation into

               24     Gj ovik's concerns, but Okpo planned to surprise-attack Gj ovik with the investigation into

               25
                      Gj ovik. Okpo assumably did not W3Il1 Gjovik so she did not try to record or get a witness for
               26
                      whatever it was Okpo planned to do to Gj ovik. Under information and belief, Apple and M'WE
               27
                      arranged the smear article to occur shortly before an attempted interrogation and forced
               28
                      settlement.

                                                             203
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               1    fontal statement that Apple had no intention to ever not ii COIlSlll1l€IIS of the practice or seek
               2    their consent.
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              4                                                                                      EI                  Apr 2, 2021
              5                                                                                                          00417-16173
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                                                                       Warning
             11                                             By disabling the check for current
                                                            cation, you won't be able to prove
             12                                              data from being uploaded from
                                                            ountries where you're forbidden t
             13                                             upload. Are you sure you want to
                                                             disable curent location check ?
             14
              15                                             Cancel                   Yes
              16
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                                         E1:hfbr't.* Collection ofP}fotos/8iomerrfes Taken by Gobbler
              17

              18             1026. Additionally problematic is that Apple knew back in 2017 that the use of the

              19    Gobbler application in France OI' Gennady is illegal, however Apple also know that employees
              20
                    traveling for work 01' even going on vacation, may end 11p Lu these countries, or L11 other EU
              21
                    Cou11t1'ies.613
              22
                             1027. This section is incorporated in the Cal. Labor Code § 1102.5 claim for § 435, and
              23

              24
                    the Tantney claims under the same, the California Constitution Right to Privacy, and the FTC

              25    Act - and those sections are also incorporated here .

              26             1028. Apple's statements about privacy related to tracking and data collection are false.
              27
                                                                       Wfrefappfrlg
              28
                    613 Apple. Privacy Governance, (last accessed 129/2023 httpsrffwww.apple.com1'legaL='privacy»'en-
                    wwfgovelnancef

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               1              1000 hour AirPods - Bulk Data lQ3/zo... I;===°*-'~*~"= I                                                      Exit E»1'4di1l8.




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              12                            Erz'ribir.' One of the Millions of Secrer Sire Recordings, via Teferanra we
              13
                                                   3) Fraud' Compliance and Ethics
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                              1031. Apple's Global Whistlehlowmg Policy starts with the statement:"App1!'e corrduefs
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                    brassiness effrfcaffv, frafresflv, and in cofnpfianee with rrpphicabale Jaws and f'egz.4a.*'fons.71619 Apple
              16

              17    does not say that 'Apple tries to conduct...' or 'believes that it is important to couduct'- no,

              18    Apple says it does conduct. Apple states a conclusive, definite fact that the company is ethical,
             19
                    honest, and never violates laws or regulations. Apple's statement is false, as well as preemptive
              20
                    tlll'eatenlng aganist whistleblowels speaking out, as if Apple is doing nothing wrong, there is
              21
                    nothing to blow the whistle about.
              22

              23              1032. Apple's website has a homepage for "Ethics and Compliance" that leads with a

              24    protmnent statement, siuularly saying : "A.p.pl'e cormfucts business etl:ic'a'N_v. :'rotresrzj»'. :old frrfwff

              25    rorrqpfiance with the l'FTw. We believe that how we conduct ourselves is as criffcaf to Apple '5
              26
              27
                    :as Olivier Tesquest. Sari, I 'ass1L9tanr vocal d 'Apple ? C 'est one taupe !, February 24 2021.
              28    https:H      .telemlua.fn'debats-reportagesisiri-lassistaut-vocal-dapple-cest-une-taupe-6822626.php
                    619 Apple. Global Whislleblowing Policy. (last visited I2m2023).
                    hltps::'»lwww.apple.co111fcompliauceJpdtlsfApple-Global-Whistleblowiug-Policy.pdf
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                1              490.     On September 5 2021, Gj ovik posted 011 Twitter about the US DOJ case against

                2     Apple lawyer Gene Levon. Gjovik said she found a denied motion in the case where Levoff' s
                3
                      defense was arguing"insider trading laws don 'f ex'f'sr" and/or do exist "bar are
                4
                      un cons trlrrrtfonr:l.m209   [See RICO Predicate Acts: Securities Fraud and Wire Fraud]
                5
                               491.     011 September 6 2021, Gj ovik posted on Twitter as screenshot, captioned: "Aug 2
                6
                '7    it*/Iessage with Apple coworker: "Seriou.sI_v rhouglf, ER 'face abu! the CO VID vaccine &

                8     Rfccio 's denotion. He really tirougltf I us eraggeraring. I 'm like Uvou want it wfhzess please

                9     rank to Deir'n're O 'Blier:." @TheJusticeDept, NCDF Disaster Complaint: I-Ioardmg/Other [photo
               10
                      oflDOJ complaint 8c iMessage].2.I°
               11
                               492.      On September 6 2021, Gj ovik posted on social media about her cases with a
               12
                      status update and the report numbers. In addition to the prior charges, she now also referenced
               13
               14     her SEC whistleblower tip, FBI tip, and DOJ complamtzu

               15
               16
               17
                                      8        Ashley M. Gjevik
                                               @ashleygjovik

                                      @NLRB Case: 32-CA-282142
               18                     @OSHA_DOL Whistleblower Claim: 1218-023
                                      @USEEOC Case: 556-2021-00608
               19
                                      @SEC_Enforcemem Whistleblower Claim: 16304-612-987-465
               20                     @CivilRights Complaint: 98145-RJH
               21                     @CA_DIR Whistleblower Claim: RCI-CM-84-2830
                                      @CalDFEH Case: 202108-14540123
               22
                                      7:12 AM . Sep 6, 2021
               23
               24                                    Exflfb:lt: Gjovikk Sept. 62021 Pos! abou! Cases
               25
               26
               27
                      209 US v, GeneLe1'O@'I USDC of NJ (Aug 12. 2020). Docket No. 19-cr-780. Motion to dismiss: Denied;
               28     Twitter. Ashley Gjovik. https:Mtwi1'ter.coxllfasllleygjovikfstatusf 1434406050275287043
                      210 Twitter. Ashley Gjovik. https:h'twit1er.collVashleygjovikfstatusfl43-4830527140229124
                      211 Twitter. Ashley Gjovik. https:Hiwiiter.colWashleygjovikfstatusfl43483691508888544
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                3
                                    E            Ashioyt M. Giivik
                                                 @ashleygjovik


                                    July 20, 2021 - email with #Apple legal & biz conduct
                4                   Reported possible violations of sanctions against Syria to
                5
                                    my leadership & HR BP. Coworker was bragging about
                                    smuggling. No one took action for 10mo. Complained to
                6                   biz conduct in July. Reported to the @FBl a few days ago.
                7
                8                   ~.:.:=:.-:.:...........
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               15
                                    3118 AM - Sep G, 2021 - Twitter Web App
               16
               17
                                  Exhibit: Gjovik's 9/6/2] Twitter post about F81 complaint about Smuggling
               18
               19            493.        On September 6 2021, Gjovik replied to the US EEOC confirming she was
               20    working on a draft of her complaint and was targeting to submit it to them by September 8 2201,
               21
                     responding to US EEOC sending her a 'courtesy reminder' on September 3 2021, to complete
               22
                     the draft.
               23
               24            494.        On September 6 2021, Gj ovik posted on Twitter about the Slack discussion from

               25    July 27 2021 where she and her coworkers discussed Apple systemically retaliating against them

               26    for raising valid concerns.
               27
                             495.        On September 7 2021, Gj ovik posted on Twitter about the Batterygate/nude
               28
                     photographs matter. Gj ovik finally disclosed the construction termination that occurred leading

                                                                                   207
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                1     up to Apple's mtimldatmg conduct. Gj ovik posted, "I spew! :unfit firfle porrderhfg why rH_v rrrfdas

                2     were so crirfca! to #Apple's a*c°c co flecriortfor rfse Ba tferjvgare l'awsz.fHs...I wonky Apple wnrlred to

                3
                      irfrimidare me to ravever openly discrrss how I was eoffsrmcriveh* tenlfedfor speaking-fzp abt
                4
                      Ike Isfrrrfrtforl when I ran swffaffhrre analysis." 212 Gjovik then added "#Applle
                5

                6     Br: tterjvga.*`e/N1:deg¢'1fe/Constnrcfiveferruirrafforrgafe-71213




                                      o
                '7
                                                    Ashley M. Giwlk
                8                                   @ashleygjovik

                9                     I spent much time pondering why my nudes were so critical to #Apple's
                                      doc collection for the Batterygate lawsuits...
               10                     I worry Apple wanted to intimidate me to never openly discuss how I was
                                                                                      *_
                                      constructively term'ed for speaking-up abt the situation when I ran sw
               11
                                      failure analysis.
               12                                                 I $4nl1:l".                                                                          '49
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                                                                                          lumrnrlumluin.
               20                           ennui                                         Rlglwlq,


               21                       Q) Ashley m. Gjnwik @ashleygin».»ik . Aug 21, 2021
                                        Now that we're all fully distracted by whatever the f THAT was, plz keep in
               22                       mind it happened just hours after I mentioned:
                                        11The corruption at #Apple may reach R.I.C.O. levels
               23                       2) Legal may have taken my nudes to intimidate me as a whistleblower re: that
                                        lawsuit...
               24                       Show more
               25
                                      11226 PM . Sep 7, 2021
               26               At
               27                         Exhibit." Gjovfkls Sept. 72021 Pos! about 8arrerjv4afe & RICO

               28
                      212 Twitter. Ashley Gjovik. https:Htwirter.conw'ashleygjovik!stams:'1435444339019182083
                      218 Twitter. Ashely Gjovik. llttps:»'¢*'t\ni1ter.colWasltleygjovikfstatusfl435444945I 17073414

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                3
                                        9      Ashley M. Giwik
                                               @ashley9iavik

                                        #ADDle Batterygatel'nudegatefconstructiveterminationgate
                4
                                        "| have the worst headache"
                5                                s
                                        "#MeTal Ii

                6                             I didn't say anything
                '7
                8
                9
               10                             I have the worst headache

               11
               12                       11228 PM . Sep 7. 2021

               13
                                 ErFrfbif.' Gjovikis Sept 72021 Post frborrf "CorrstrzrcffvefenrrfrrfrffoflGare "
               14
                             496.    011 September 7 2021, Gj ovik discovered a Santa Clara County Supenur Court
               15
               16     lawsuit against Apple filed by one of her ex-coworkers. The ex-coworker, Crystal Brown, sued

               17     Apple due to harassment and retaliation from her manager, who was also Gj ovik's manager, Dan

               18     West. The lawsuit was filed in 2018 and settled in 2019. Gjovik posted 011Twitter about it
               19
                      tagging Tim Cook and Apple's Twitter accounts and complained that Apple had tried to claim
               20
                      they investigated West but found H0 'policy violations' when he was sued by another employee
               21
                      only a couple of years prior and Apple had quickly settled the case.
               22
               23            497.    On September 7 2021 at 8:42pm, Okpo contacted Gjovik again asking to speak

               24     with Gjovik by September 10 2021. (Gj ovik's NLRB affidavit was due September 13 2021).

               25     Now Okpo said there W€T€ some "inconsfslerlcfes" he wanted to discuss. Okpo had never
               26
                      responded to Gjovik's concerns on September 3 2021 and this was the last email Gjovik would
               27
                      receive from Okpo.
               28


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                1     insisted they talk to Gjovik poor to 9/ 13 (which would give them time to get Gjovik to recant

                2     even if she already testified).
                3
                              xiv.     The Day Apple Fired Gjovik (September 9 2021)
                4
                              502.     011 September 9 2021, around 1 AM the day Gjovik was fired, Gjovik was tipped
                5
                      off that Apple may be surveilling her through her work and personal devices. Gjovik posted
                6

                '7    publicly about her concerns at 12:06 AM including '24n.1»° !'€0'SOH Apple woulds 'f be reading my

                8     [personnLl IC/oud efrrnif mm' iMessage5? " 214 To which members of the Info Sec commimity

                9     assured Gjovik Apple was likely doing that and more.
               10
                              503.     Gj ovik immediately began removml her data from Apple's servers. Realizing
               l1
                      how tenilied she had become of her employer, she began searching for legal resources. At
               12
                      2: 16am that morning Gjovik downloaded the US DOJ guide to litigating civil RICO cases,
               13

               14     which Apple would have seen.

               15

               16
                              legal Reference > Law - CIVIL RICO                        v    G       Search Law - CIVIL RICO
               17
                                                    A
                                Name                                        Date modified            I Type                 1:

               18

               19             @ 8. CIVIL RICO                               9/9/2021 2°16 AM          Adobe Acrobat D...

               20                                          Erlrfbit: 9/9 RICO Down/onfd

               21
                              504-     Minutes later at 2:27 AM September 9 2021, a self-declared "burner" Twitter
               22

               23     account, with zero posts or "likes" ever, @Guybrus55626232, sent Gjovik a direct message

               24     accusulg her of making a claim that was "vef'g}'?abr'v incorrect did eornpfefe rufsrepreserrfatfon of

               25     facts. " The user claimed that when Gjovik posted she found the Crjvstaf Brown vAppIe lawsuit,
               26
                      and said Apple settled (which Apple did), she was ":rnequivocaHy Jwfsrepresenrirrgfacrs, most
               27

               28
                      214 Note: California employers cannot eavesdrop on or record employees' private telephone. email. or in-
                      person conversations without prior consent by all participarrts. See. Cal. Penal Code §§ 63 l(a). 632(a).
                                                                           212
                     SECOND AMENDED COMPLAINT I 3123-CV-04597-EMC                                       DECEMBER 21 2023
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                     Case 3¢2é?¢8§$i4°8?93n9c0588é39?81893'"Wi|8J:?z33P£a21=8fg87.14 of 100



                1
                                       Ashley m. gjuvuz
                2
                                       9-ashleygjmrik
                3
                4
                             Just found this 8: l'll be laying on my floor staring at the
                             ceiling for a bit if anyone needs me...
                5            2011: #Apple investigators illegally search a SF man's
                6            home. They questioned his family's citizenship &
                '7           threaten deportation. SF police assisted off book.
                             archives.sfweekly.com/thesnitch/2011
                8
                9             Grim.
                              LOSt iPhone 5: Bernal Heights Man Says Visitors
               10             Impersonating Police Searched His Home (Exclusive)
               11
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                              ur NEXT: €J:Ilall'l Fnnbuul gnu
               24
               25            T58 PM - Sep 9, 2021 - Twitter Web App

               26                       Erhibf'r.' The Post Abos! Apple Breaking into People '5 Homes
               27
               28


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                     SECOND AMENDED COMPLAINT I 3123-CV-0459?-EMC                                                      DECEMBER 21 2023
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                1
                                   XIII. APPENDIX III: SUMMARY OF FALSE STATEMENTS
                2
                3    Senior District Judge Chen's Standing Order Rule #10 1320
                     Complaints in Federal Securities Fraud Cases
                4
                     "Where a plaintiff files a federal securities fraud case, the plaintiff shall attach to its complaint a
                5
                     chart regarding any allegedly fraudulent/misleading statement(s) or omission(s)."
                6
                7    SOX Act & Dodd Frank Act Whistleblower Retaliation
                8     #     SAC    Speaker, Date,            False/Misleading          Reason Why             Facts Giving
                9           1]     Occasion                  Statement or              False/Misleading       Rise to
                                                             Omission                  When Made              Strong
               10                                                                                             Inference of
                                                                                                              Scienter
               11    1      786,   Alysha Johnson.           "We've worked             Apple does the         Gj ovik to
               12           999    Reuters, December 6,      closely with [the         bare minimum           Cohen: "But
                                   2016, California EPA      Department of Toxic       required and tells     when it
               13                  says settled with         Substance Control]        employees that         comes to
                                   Apple on hazardous        to ensure that going                             working on
               14                  waste claims              forward we have the                              contaminated
                                                             proper permits for                               chemical
               15
                                                             our current site. As                             release sites,
               16                                            we do with all our                               apparently
                                                             facilities, we                                   Apple's
               17                                            followed our                                     stance is to
                                                             stringent set of health                          only do what
               18                                            and safety standards,                            is absolutely
               19                                            which go well                                    legally
                                                             beyond legal                                     required. At
               20                                            requirements." 1321                              least that's
                                                                                                              what they told
               21                                                                                             me."
               22    2      787    Lisa Jackson, Apple       The resources and         Apple showed           Gj ovik tired
                                   Press Release,            community                 complete               to escalate
               23                  4/21/21                   initiatives we're         indifference to the    Env Justice
                                                             sharing today are all     health impact of       concerns &
               24                                            about amplifying          communities            the Inclusion
                                                             voices too often          around its toxic       & Diversity
               25
                                                             unheard, and giving       waste sites, Apple     team told her
               26
               27    1320 US Courts, CAND, Judge Chen 's Standing Orders, https://www.cand.uscourts.gov/wp-
                     content/uploads/judges/chen-emo/Standing-Order-Civil-General-REVISED- 12- 1 -2022 .pdf
               28    1321 California DTSC, Apple Agrees to Pay $450, 000 to Settle Hazardous Waste Violations, 2016,
                     https://dtsc.ca. gov/2016/12/06/apple-agrees-to-pay-450000-to-settle-hazardous-waste-violations/,
                     Reuters, https://www.reuters.com/article/idUSKBN13V2HS/
                                                                           1
                    SECOND AMENDED COMPLAINT I 3:23-CV-04597-EMC                                      DECEMBER 21 2023
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                    Case 33239:?38i1§3??E§Pc0532O9lJ2,92egt g§;gnt,9n:eg7.13,§199§2883865 of 366



                1                                            people the tools to       has poor             to pitch why
                                                             learn, engage, and be     management of its    Apple
                2                                            part of the solution...   hazardous waste      shouldn't
                                                             As people around the      sites                poison Black
                3
                                                             world celebrate Earth                          people
                4                                            Day, Apple's focus
                                                             remains on
                5                                            supporting those
                                                             communities most
                6
                                                             impacted by climate
                7                                            change and
                                                             environmental
                8                                            challenges.991322
                     3      781    Abstract, attributed to   "Cares about Human        AG: "A company
                9                  many statements by        Rights"                   that likes to
               10                  Apple                                               pretend it cares
                                                                                       about human
               11                                                                      rights... pretends
                                                                                       seems to be the
               12                                                                      important words
               13                                                                      there..."

               14
               15    RICO Predicate Act: Wire Fraud and/or Mail Fraud
               16
                      #     SAC    Speaker, Date,            False/Misleading          Reason Why           Facts Giving
               17           11     Occasion                  Statement or              False/Misleading     Rise to
                                                             Omission                  When Made            Strong
               18                                                                                           Inference of
                                                                                                            Scienter
               19
                     1      986    Apple, 2021, NMP          Apple claimed it          Cover-up how         It's literally a
               20                  Manifests in TRI          shipped NMP to            many chemicals it    crime under
                                   filing                    waste facilities but      vented on Gj ovik    RCRA
               21                                            there were no
                                                             manifests so it didn't
               22
                     2      990    Apple, 2021, Art          Claimed NMP is            Have tons at 3250    CAA
               23                  Fong                      priority chemical and     Scott Blvd &         violation
                                                             eliminated since          launch it into the
               24                                            20 16                     air
                     3      1007   Apple to EPA, May         "While proper             See, 3250 Scott      CAA/RCRA
               25                  28 2021                   ventilation and           Blvd emissions       violations
               26                                            engineering controls
                                                             can protect the health
               27                                            and safety of those
               28
                     1322 Apple, Apple Celebrates Earth Day 2021, April 21 2021,
                     https://www.apple.com/newsroom/2021/04/apple-celebrates-earth-day-2021/
                                                                          2
                    SECOND AMENDED COMPLAINT I 3:23-CV-04597-EMC                                     DECEMBER 21 2023
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                1                                        working in supplier
                                                         facilities, we went a
                2                                        step further to
                                                         protect those
                3
                                                         working in our
                4                                        supply chain and the
                                                         surrounding
                5                                        communities"
                     4      1015   Apple, 2018, to EPA   Apple generates           Proven they do not
                6
                                                         100% of our
                7                                        operational load
                                                         through clean
                8                                        en€I.y_"l323
                     5      1018   Tim Cook, Apple       "Privacy is a             They claim           See to the left
                9                  Website, 12/21/21     fundamental human         employees have
               10                                        right. It's also one of   no right to
                                                         our core values.791324    privacy, which
               11                                                                  either means
                                                                                   they're lying or
               12                                                                  they don' think
               13                                                                  their employees
                                                                                   are humans
               14    6      1031, Apple, Ethics 8:   "Apple conducts               See all of Apple's   Corruption
                            1032 Compliance Website, business ethically,           fines, violations,
               15                 Current            honestly, and in full         sanctions,
                                                     compliance with the           investigations
               16
                                                     law.
               17           1033 Business Conduct    "Apple conducts               See all of Apple's   Corruption
                                  Policy, Current,   business ethically,           fines, violations,
               18                 Apple              honestly, and in full         sanctions,
                                                     compliance with               investigations
               19
                                                     applicable laws and
               20                                    regulations

               21
               22
               23
               24
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               26
               27
               28    1323 Us EPA, Docket ID No. EpA-HQ-0AR-2017-0355, Apple Comments on EPA Proposal re Emission
                     Guidelines for Greenhouse Gas Emissions      (at 83 FR45588, September 18, 2018).
                     1324 Apple, Privacy, (last accessed 12/17/2023), https://www.apple.com/privacy/
                                                                      3
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                1               511.        Ten minutes later, at 2:08pm PST, Gjovik was contacted by Ale's Kagramanov, a

                2     "Workplace Violence and Wzrear Assessment" investigator demanding to speak with Gjovik on
                3
                      the phone "wr'rI:in the flour." The email had 110 subject line and Gjovik had never heard of the
                4
                      team or person who reached out. The person claimed to be Employee RelaOons but said he was
                5
                      "looking info al sensitive In telfecfrfal Properqv .wr1.*Yer" and he wanted to speak with Gj ovik about
                6

                '7    it. He said he wanted to talk as $0011 as possible, within this hour (so less thai 52 minutes). He

                8     said he was sending her 311 iCal for a call but could reschedule as long as they meet that day. He

                9     said they "sfncerefy rrppreeiafre [her] prioriffzfn8 this calf and beingj'lerible." He said Gjovik's
               10
                      "cooperation ofrdporricgvorfon [ore] f`mperorive," however he never said Gj ovik was under
               11
                      investigation-
               12

               13              on Sep 9. 2021, at2:08 PM. Aleks Kagramanuv taI¢anramar\Q~r@annle.!a:m> wrote:

                               Hi Ashley,
               14
                               This is Aleks Kagranaoov from Employee Relations. We're looking into a sensitive Intellectual Property matter that we would
               15              like to speak with you about. we would like Io connect with you at as soon as possible today, within this hour, and you should
                               see an cal come through shortly. We sincerely appreciate you prioritizing this call and being flexible. If you absolutely cannot
                               make this time, please propose a few other times for us to connect today. I wanted to send this introductory email so you
               16              know who I am when I set it up- I can share more details when we meet.

               17              As pan of Appl = 's policy, your cooperation and partioipaiion is imporalnhro.

                               Thank you in advance. and talk soon.
               18
                               Best.
               19               Aleks Kagramanov
                                Employee Relations
               20               AMR Threat Assessment & Workplace Violence (TAT)
                                Apple
                                One Apple Park Way, mail atop
               21               Cupertino, CA 95014, use
                                iphone +1 -408-202-4933
               22       l   I I §_agramanuv@agpls.cnm


               23
                                              Erfriliit: Errlrafifjiorir Workplace Vfoferrce on 9/9/202] 2.'08p:u
               24

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                     SECOND AMENDED COMPLAINT I 3123-CV-04597-EMC                                                                DECEMBER 21 2023
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                1

                2
                                                        8,      Away M. apvau
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                                                       Any bets if I get a literal knock on my physical door from
                3
                                                       #Apple today?
                4

                5
                                                                    To: n:hlev G lwonq,   now nwenio-»il=
                6

                '7                                           Hmm-1.
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                9                                             .| 1 I I I I- I I r II .| It I lr l l Hl 1 I 1 1 |||. 1    | r | | | lr



               10                                              Erhflbi!.' G5'fovfk's Posts on 9/9/2021 - Knock on Door

               11                    512.             Gj ovik promptly responded at 2: 10 PM PST, two minutes later, saying that she

               12     was willing to participate, she wanted there to be a written record of their conversations. She
               13
                      said she will respond as quickly as she can. Kagramanov did not respond so Gjovik replied
               14
                      again.
               15

               16          On Sep 9, 2021, at 2:27 PM, Ashley Gjovik <a§hleyg}ovik@ic!oud.cQm> wrote:

                           FYI, I forwarded your email 81 my reply to the investigator on my NLRB case so he's aware you just reached out to me the day
               17          before my Affadavir is supposed up be taken.

               18          This feels a little like witness intimidation, etc...


               19          Ashley M. Gjevik
                           u Senior Engineering Program Manager, Apple
               20
                             On Sep 8, 2021 + at 2:10 PM, Ashley Gievik -canhleiieifwylkeiewie=ru>~ wrote:
               21            Hi Aleks! Happy to help! Please sand any questions! updates via email so we keep everything written please.

               22            I will respond via email as quickly as I can. Thanks!

                             -.
               23     .|
                      H      ¢l1l=l:\.ln.eLl~! I1*-lnlilf'


               24                           E.r)':flbfr.' Gjovik's eufrrif to Workyfnce Vfofence on 9/9/21 2:20 and 2:27 PM
               25
                                     513.             Gj ovik responded again at 2:27 PM PST complammg to the Workplace Violence
               26
                      interrogator o f "witness frffiruidurfon the dFa[v before her nj.'I'idavir" and telling him she forwarded
               27

               28     his emails to her NLRB investigator.



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                1            514.   Gjovik was posting screenshots of the conversation on Twitter in real time, along

                2     with her commentary and research discoveries about the team who contacted her. Gj ovik posted
                3
                      011 Twitter complaining of witness intimidation at 2:33 PM PST.
                4
                5                      *£'      -'~»l~l»¥ u. span
                                                a-H-vzlovm

                6                      ralg¢,in8n¢g¢¢alyli¢vi¢

                '7                     Hey #Apple, "This feels a little like witness intimidation. I
                                       let @NLRB know." Love, Ashley
                8
                                       Clutches panic button & Mace while still laying on floor
                9                      pondering the brutality of U.S. capitalism...
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               11
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               14                           Auvhruunnn.
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               15                             snowy
                                                                                 ii
               16
                                       2:33PM-Slp9.2021-Twit£HWlbApp
               17
               18                                     Exhibit.'.' Gjovik 's Posts on 9/9/2021 2.'33p:n

               19                               aahluy n. gj of us
                                                ¢ash4eysi0**
               20
                                      Rania to OJa»=p1¢>narinn
               21
               22                     Yeahs like so does he investigate the threats &
                                      violence, or is he the one that provides that as a
               23                     serv ice?
               24                     2:34pm-s¢p9.2021 - Twitter Web App
               25
                                                       Er!rib§t.' (§ovik's Posts on 9/9/202] 2:34pm
               26
               27
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                     SECOND AMENDED COMPLAINT I 3123-CV-0459?-EMC                                                  DECEMBER 21 2023
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                                    GJOVIK V. APPLE

                                             EXHIBIT
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                B. Exhibit: Map: Location of 3250 Scott Blvd Santa Clara, CA, 95054.
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        16
        17 Figure 1: 3250 Scott Blvd, Santa Clara, California,
        18 https://www.santaclaraca.gov/our-city/aboubsanta-clara/maps
        19
        20
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              715124, 1:88 AM                                                          pm»¢nyp=~»o¢

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        5        Silk Aaafm. 3250 scorn BL sauna CLARA CA 96054-3011
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        21 Figure 2: Santa Clara County Property Profile,
          https://clerkrecorder.sccgov.org/services-we-provide/assessor-property-address-
        22 search-apn-lookup
        23

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                Figure 3: Google Maps Measure Distance (154 feearfram building to
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                  Figure 4: Google Maps Measure Distance (86 feet care Ra curb)
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                                                                                                         Kevin Fell, MD

       one medical                                                                           1299-A Oak read Parkway
                                                                                                  Sunnyvale, CA 94085
                                                                                       p: 408-520-4510 f: 408-520-4519


                                             Request for Diagnostic Testing
       From:         Kevin Fell
       To:           Mountain View Center Radiology (PAMF)
       Date:         Mar 25, 2020
       Urgency: I

      Patient
             Name:                    Ashley Gjovik
             Birth Date:              08/26/1986
             Phone:                   408-204-9976
             Is patient pregnant:     not pregnant
             Last serum creatinine: 0.82 on Mar 14, 2020
          See attached for complete demographic and insurance information.

      Test
         Brain MRI with & without contrast, 70553

      Indication
          Numbness (ICD-10CM: R20.0)

      Reason for Test/ Clinical Question
             33 yr old woman with dizziness, headaches, intermittent numbness in body and face, intermittent
             foul taste in the mouth, and spasms of muscles in the arms and legs, debilitating and worsening x
             5 weeks.

      Send Report To
      408-520-4519

      Thank you,



        ,441
                       1
                             4.            17-"1 8 . 4
      Kevin Fell
      (NPI: 1215990494)
      kfeII@onemedical.com
(36 of 97), Page 36 of 97     Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 36 of 97
                                                                                                        Kevin Fell, MD

       one medical                                                                          1299-A Oak read Parkway
                                                                                                 Sunnyvale, CA 94085
                                                                                      p: 408-520-4510 f: 408-520-4519


      Patient:
           Name: Ashley Gjovik                            Address: 3390 Octavius Dr
            DOB: 08/26/1986 (33)                                   Apt 349
             Sex: F                                                Santa Clara, CA 95054
       Pronouns: She/Her                                           408-204-9976
            PCP: Kevin Fell

      Insurance:
         Carrier: United Healthcare
         Type: PPO
         Subscriber: Ashley Gjovik

          Authorization Code: no auth required




      Lab Provider:
         Mountain View Center Radiology (PAMF)
         701 E. EI Camino Real, Floor 1, Mountain View, CA 94040
         phone: 650-934-7700 fax: 650-934-7790
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   UCSF MyChart - Visit Summary                                                                                                     5/3/21, 5:53 PM




                                  Name: Ashley Gjovikl DOB: 8/26/1986 |   MRN;_ I PCP: Kevin C Fell, MD


                 A Note to Patients: Symptoms are concisely summarized to inform treatment
                 recommendations. For reasons of privacy and brevity, this note does not attempt to
                 capture all experiences that were discussed.



                Progress Notes
                Robert J. Harrison at 4/29/2021 11 :00 AM
                ATTESTATION

                 My date of service is 4/30/21. I reviewed the video consultation note of Dr. Hall dated
                  4/30/21 and discussed the case with his. I was present during the videovisit and am
                 personally involved in the management of the patient.

                 I agree with the findings and care plans as documented. I spent a total of 40 minutes
                 directly pertaining to the management of the clinical and occupational health problems,
                 and 40 minutes of that time (>50%) was spent counseling regarding the prevention,
                 treatment options, prognosis and coordination of care for her chemical exposures. I
                 reviewed the extensive blood and urine laboratory testing for VOC metabolites,
                 pesticides and organochlorines, as well as the results of VOC testing in her apartment.
                 These do not suggest persistent body burden of chemicals, and the levels of VOCs in
                 the air of her apartment do not exceed the threshold set by the DTSC for long term
                 cancer and/or chronic non-cancer effects. while this is reassuring from her personal
                 health standpoint, there remains a concern about potential pathways for residential
                 exposures, and these should be addressed by the county and State environmental
                 agencies. All questions and issues were addressed and discussed, and I remain
                 available as needed for any additional concerns about health issues.

                 Plan


                 Robert Harrison, MD, MPH
                 Clinical Professor of Medicine

                Darren Martin Hall at 4/29/2021 11:00 AM
                REFERRAL SOURCE AND REASON
                Ms. Ashley Gjovik was referred to the Mt. Zion Occupational and Environmental Clinic
                for evaluation and treatment of potential health effects occurring in the setting of
                exposure to toxic chemicals from working near Superfund sites.

                 HISTORY OF PRESENT ILLNESS
                 Ms. Gjovik is a 34 y/o female senior engineering program manager for Apple who
                 experienced a sudden onset of sxs after she moved into her apartment in Feb 2020.

   https://ucsfmychart.ucsfmedicalcenter.org/UCSFMyChart/inside.a...submode=notes&csn=VTsDKvhJ46QWHCms8qF7nw%3d%3d&printmode=true      Page 1 of 10
(38 of 97), Page 38 of 97            Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 38 of 97
   UCSF MyChart - visit Summary                                                                                                            5/3r21, 6'53 PM


                 These sxs largely resolved when she moved out in Sept 2020. Specifically, she was
                 experiencing severe dizzy spells, a large decrease in resting heart rate, palpitations,
                 hypotension, fatigue, chest pain, numbness, spasms, rash, shortness of breath,
                 multiple growths (mole, polyp, nodules), nausea, paresthesias, blurry vision, abnormal
                 vaginal bleeding, and swollen glands.

                 She also notes an unexplained episode of fainting at work in Sept 2019 at her office on
                 a Superfund site with a long history of vapor intrusion issues in the building.

                 She states her apartment was built in an industrial area next to a the Synertek
                 Superfund and next to Apple Materials Superfund and Intel Magnetics Superfund.

                 She also notes her current office is in TRW Microwave building on an EPA Superfund
                 "Triple Site."

                 She has been seeing Dr. Kevin Fell (PCP from One Medical) and Dr. Kari Nadeau.

                 WORK STATUS

                 She is currently working as a senior engineering program manager for Apple.
                  Previously she worked as a project manager for Apple from 2015 - 2017, a release
                 and HR manager for Nike from 2012 - 2015, a project manager for Portland State
                 University from 2011 - 2012, and other various jobs for a school district from 2000 -
                 2010.

                 EXPOSURE HISTORY

                 The primary exposure associated with this diagnosis are environmental toxic
                 substances.

                 Past Medical History:




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(39 of 97), Page 39 of 97             Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 39 of 97
   UCSF MyChart - visit Summary                                                                                                              5/3r21, 6'53 PM




                 Past Surgical History:
                 Pnpnrll lip                                                                      Laterality            Pa:+n




                 REVIEW OF SYSTEMS

                 I have reviewed the following symptoms and except as noted in bold are negative:

                 GENERAL; No fevers or chills. HEENT: No change in vision, no earache, sore throat or
                 sinus congestion. CARDIOVASCULAR: No chest pain or pressure. palpitations.
                 PULMONARY: No shortness of breath, cough or wheeze. GASTROINTESTINAL: No
                 abdominal pain, nausea, vomiting or diarrhea, melena or bright red blood per rectum.
                 GENITOURINARY: No urinary frequency, urgency, hesitancy or dysuria.
                 DERMATOLOGIC: No rash, no itching, no lesions, ENDOCRINE: No polyuria,
                 polydipsia, no heat or cold intolerance. No recent change in weight.
                 HEMATOLOGICAL easy bruising (factor 8 deficiency) or bleeding. NEUROLOGIC:
                 No headache, seizures, numbness, tingling or weakness. PSYCHIATRIC: anxiety                                         I
                 stress, No depression, no loss of interest in normal activity or change in sleep pattern.

                 PHYSICAL EXAMINATION
                 Physical exam was limited due to telehealth constraints,
                 GENERAL APPEARANCE; Well developed, well nourished, alert and cooperative, and
                 appears to be in no acute distress
                 PSYCHIATRIC Oriented to person, place and time. Able to demonstrate good reason,
                 without hallucinations, abnormal affect or behaviors during the examination .

                 ASSESSMENT and PLAN

                 1.     Exposure to environmental toxic
                        substances

                 Ms. Gjovik is a 34 ylo female who experienced multiple symptoms for an 8 month
                 period that began when she moved into her apartment and spontaneously resolved

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(40 of 97), Page 40 of 97           Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 40 of 97
   UCSF MyChart - Visit Summary                                                                                                     5/3/21, 5:53 PM


                 when she moved out. She is currently in good health but is concerned about working
                 around hazardous waste / toxic environmental chemicals and any long term health
                 consequences from these exposures.

                 Human Exposure Environmental Indicator
                 EPA categorizes each National Priorities List (NPL) and Superfund Alternative
                 Approach (SAA) site as follows:

                 Human Exposure Under Control describes sites where EPA assessments indicate
                 there are currently no unacceptable human exposure pathways anywhere on site. This
                 is generally because either the entire site has been cleaned up to levels that do not
                 adversely affect public health, or controls have been implemented that prevent human
                 exposure to contamination.

                 Human Exposure Not Under Control describes sites that have not had pathways to
                 human exposure to contamination completely controlled, mitigated or eliminated. This
                 category includes sites where response actions are under way but are not yet
                 complete.

                 Specifically, these are sites where:

                    An unsafe level of contamination has been detected somewhere on site, and
                    Contamination has not yet been fully treated, stabilized or contained across the
                    entire site to prevent current human exposure, and
                  . Though there may not be any actual exposures occurring, there is potential for
                    individuals to be exposed to the contamination somewhere within the site's
                    boundaries.

                 Even if these conditions exist at a very small portion of the site, or advisory signs are
                 posted, EPA will classify the site as Human Exposure Not Under Control until all
                 potential exposures are addressed.

                 EPA's first priority is to ensure that effective measures are taken quickly to ensure
                 people are not exposed to harmful contaminants. At many of these sites, substantial
                 cleanup work has already been completed but some portion still poses potential risk.
                 EPA categorizes these sites as Human Exposure Not Under Control until those
                 portions are addressed.

                 EPA and other applicable federal agencies post warning signs, construct fences, and
                 conduct outreach to communities to educate residents of the potential health risk.

                 Site Name - TRW MICROWAVE, INC (BUILDING 825)
                 Region - 9
                 City - Sunnyvale
                 State - California
                 Federal Facility Status - Non-Federal
                 NPL Status - Final
                 Human Exposure Status - Not under control

                 Human Exposure Status Description

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   UCSF MyChart - Visit Summary                                                                                                     5/3/21, 5:53 PM


                 As of September 2020, the TRW Site is designated Human Exposure Not Under
                 Control due to conditions at the off-property area associated with the site - the Offsite
                 Operable Unit (OOU). The TRW site was transferred from the State back to EPA in
                 August 2014, subsequent to which EPA ordered the Responsible Parties (RPs) to
                 conduct vapor intrusion (VI) evaluations at on- and off-property buildings associated
                 with the site to determine whether the vapor intrusion(Vl) pathway for TCE is complete
                 and whether a remedy is required. The on-property evaluation showed no evidence of
                 unacceptable VI. The off-property evaluations are in progress and show evidence of
                 unacceptable TCE VI in approximately 40 residential and 12 school buildings. Steps
                 were taken to address the VI inhalation risks, including building ventilation
                 improvements, operation of indoor air purifiers, installation of sub-slab and sub-
                 membrane depressurization systems, and confirmatory sampling and long-term
                 maintenance plans to confirm the continued effectiveness of mitigation measures.
                 Additionally, residents, parents, school staff and school administrators were informed
                 via fact sheets and community meetings. To address long-term risks, a framework for
                 preemptive mitigation and post-response site controls was negotiated with the RPs,
                 which was finalized in September 2019 in an ASAOC, to submit work plans to address
                 risks in certain remaining residences above the groundwater contaminant plume and to
                 ensure the long-term stewardship of the vapor mitigation measures put in place. As of
                 August 2020, the VI work plans have been submitted and addressing the remaining
                 residences and school buildings is moving forward.

                 Site Name - INTEL MAGNETICS
                 Region - 9
                 City - SANTA CLARA
                 State - California
                 Federal Facility Status - Non-Federal
                 NPL status - Final
                 Human Exposure Status - Under control

                 Human Exposure Status Description
                 Human exposure is under control at INTEL MAGNETICS

                 I spent a total of 60 minutes face-to-face with the patient and 40 minutes of that time
                 was spent counseling regarding the prevention and treatment of toxic environmental
                 substances.

                 Patient was seen and examined with Dr. Harrison. The above note reflects our
                 discussion.

                 Signed,
                 Darren Hall, DO, MPH
                 UCSF Occupational Medicine Resident




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   mychan - visit Summary                                                                                                             wz5rzo, 11'21 AM




      Print This Page | Close This Window

                                                                       Stanford
                                                                44? HEALTH CARE

      Name: Ashley Gjovik | DOB: 8/26/1986 | MRN:       -P C P : Kevin Charles Fell, MD
       Appointment Details

               Visit Summary .                        Notes

          Ashley Gjovik                                                                                      11/6/2020 9:00 My
                                                                                                                             mR:..l
          Provider: Kari Christine Nadeau, MD         Department: Allergy Clinic Portola Valley         Dept Phone: 650-723-6961

          Stanford Health Care
          Progress Notes
             Kari Christine Nadeau, MD

             Status; Addendum


                                            ALLERGY CLINIC - ALLERGY TEMPLATE


             CLINIC VISIT: 11f6/2020

             Patient: Ashley Gjovik

             Fell, Kevin Charles
             1299-A Oak read Pkwy
             Sunnyvale CA 94085
             (408)520-4510
             408-520-4519

             Self-Referred
             NON BLUE SHIELD ONLY
             NIA

             Dear Dr.

             I had the pleasure of seeing your patient, Ashley Gjovik, at our Allergy and Immunology
             Clinic for evaluation of her possible allergies.
             Please see her intake form for her past med hx, past surgical hx, medications, and
             social hx and family hx.

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   mycharl - visit Summary                                                                                                                    11{25{2.'D, 11-21 AM




              . I -


              No facility-administered medications prior to visit.


              Allergies




              No family history on file.

              Social History

              Socioeconomic History
               - Marital status:                        Single
                    Spouse name:                        Not on file
               . Number of children:                    Not on file
               . Years of education:                    Not on file
                 Highest education level:               Not on file
              Tobacco Use
                 Smoking status:                        Never Smoker
                 Smokeless tobacco:                     Never Used


              ROS :
              All 14 points were reviewed and completed and otherwise negative.


              Visit Vitals
              BP                             129/81 (Patient site: Right arm,
                                             Patient Position: Sitting)

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   MyChart - Visit Summary                                                                                                            11/25/20, 11:21 AM


             Pulse                         66
             Temp                          36.5 °C (97.7 °F) (Temporal)
             Ht                            1.676 m (5' 6")
             Wt                            85.3 kg (188 lb)
             SpO2                          99%
             BMI                           30.34 kg/m2


             GENERAL; Well appearing, no distress.
             HEAD: Normal. Hair normal in texture.
             EYES: Conjunctivae white and quiet.
             EARS: AD: External auditory canal normal. Tympanic membrane grey and translucent.
                    AS: External auditory canal normal. Tympanic membrane grey and translucent.
             NECK: Symmetric, no masses. No thyromegaly. Trachea midline.
             CHEST: Normal configuration.
             LUNGS: Normal respiratory effort and rate. Alveolar breath sounds bilaterally. No
             adventitial sounds.
             CARDIAC: Heart sounds normal. No extra sounds. No murmurs.

             SKIN: Fitzpatrick skin type VI. No urticaria or angioedema. No keratosis pilaris. No
             palmer hyperlinearity (type 0). Eczema not present R/O/S (redness/oedema/scratches, 3
             point scale) 0/0/0. NO dermatographism. With many tattoos.

             Labs:

             No results found for this or any previous visit (from the past 1008 hour(s)).




             Impression: This is a 34 yo female who had moved into an apartment in Santa
             Clara (see record for location) in which she reports she was exposed to chemicals
             in the water and in the air which affected her health (abdominal issues, breathing
             issues, skin issues). She has since moved away and lives in a filtered unit in San
             Francisco. She reports she now feels better. There was no prior history of multiple
             chemical sensitivities.
             lt sounds Ashley's symptoms were a response to chemical exposure, and the
             timing of her symptoms aligns with her living in the Santa Clara Square apartment.
             The severity and timing of the symptoms points to some type of industrial
             chemicals in her apartment and/or the property beneath it.
             Recommendations: I recommended she continue living in a place that has filters
             in the air and that she lives in areas where she can review the water and air quality
             first to ensure no issues. I am happy to have her RTC in 6-12 mo. I recommend the
             government agency in charge of the remediation site where she was living,
             investigate the soil and groundwater as potential causes for her symptoms.

             Thank you for this referral and involving us in care of Ashley Gjovik.

   https://mychar t.stanfordhealthcare.org/myhealth_sso/inside.asp?m..,e=visitsummary&csn=dk9l2XSU5xEShTqJXO%2fF1g%3d%3d&printmode=true     Page 4 of 6
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                                                       Provider Report



     Details for

     Physician Emergency Department Note
     Encounter ID: Q0085621?231




                         16
                      February

       Patient                                Dictation Date                        Facility
       ASHLEY M GJOVIK                        2/46/2020 2:19 PM                    REGIONAL MEDICAL CENTER OF SAN
                                                                                   IOSE
                                                                                   225 n. jACKSON AVENUE
                                                                                   SAN JOSE CA 95116


                                                                                   U


            Summary




           REGIONAL MEDICAL CENTER OF SAN JOSE {CgC5BT}
           EHERGENCY PROWIDER REPORT
           REPORT#:0216-0489 REPGRT 5TATUS: Signed
           DATE:82/16/28 T IHE: 1419

           PATIENT: GJOVIK,ASHLEY H                    UNIT #: 0001240235
           ACCOUNT#:                                   ROOH/BED:
           DUB: 08/26/86 AGE: 33          SEX: F       PCP PHYS: NO PRIMARY OR FAMILY PHYSICIAN
           SERVICE DT: 82/16/28                        AUTHOR: Malcolm,Douglas MD
           REP SRV DT: 02/16/28                    REP SRV TM: 1419
           * ALL edits or amendments must be made on the electronic/computer document *


           HPI~Genera1 Illness

           Free Text HPI Notes
           Free Text HPI Notes
           33 year old female with a PI'~'IH of bigeminy PAC's presents to ED c/o sharp non-
           radiating chest pain and tingling of her left arm that began intermittently
           since last night. Pt also reports palpitations and dizziness that have been
           worsening since the last 2 weeks. She states that her doctor thinks her PAC's is
           related to stress, and she has an appt with a Cardiologist soon. Denies SOB,
           nausea, diaphoresis, vomiting, or abdominal pain.

           Genera L
(46 of 97), Page 46 of 97    Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 46 of 97
         Confirmed Patient Yes
         Initial Greet Date/Time 02/16/20 1211

         Presentation
         Chief Complaint Chest pain
         Hx Obtained From Patient
         Onset Occurred Yesterday

         Portions of this section were scribed by PANUGANTI,BHAVYA on 02/16/20 at 1419

         Review of Systems

         Free Text ROS Notes
         Free Text ROS Notes
         Constitutional: Denies fever. Denies chills.
         Eyes: Denies visual changes.
         ENT: Denies congestion. Denies sore throat.
         Neck: Denies stiffness. Denies pain.
         Respiratory: Denies cough. Denies shortness of breath.
         Cardiovascular: +chest pain. + palpitations.
         Gastrointestinal: Denies abdominal pain. Denies nausea. Denies vomiting. Denies
         diarrhea.
         Neurological: Denies headache. Denies dizziness. +tingling of left arm
         Musculoskeletal: Denies joint pains.
         Skin: Denies rash.
         GU: Denies dysuria.
         All other systems reviewed   negative, except as marked.

         Portions of this section were scribed by PANUGANTI,BHAVYA on 02/16/20 at 1419

         Past Medical History   Adult
         Allergies




         Home Medications
         Reported Medications




         Review of Nursing Notes Rev avail, and agree
         Past Medical History:
         Denies: Diabetes mellitus, Hypertension.
         Other Social History Local resident, Good social support

         Portions of this section were scribed by PANUGANTI,BHAVYA on 02/16/20 at 1419

         Physical Exam

         Vital Signs
         Vital Signs
         First Documented:
                                              Result     Date Time
                                Pulse 0x            99   02/16 1212
                                B/P            185/105   02/16 1212
                                B/P Mean           131   02/16 1212
                                02 Delivery   Room air   02/16 1212
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                                   Temp              36.8 02/16 1212
                                   Pulse               74 02/16 1212
                                  Resp                    20 02/16 1212

         Last Documented:
                                                 Result      Date Time
                                   Pulse 0x           99     02/16 1212
                                   B/P           185/105     02/16 1212
                                   B/P Mean          131     02/16 1212
                                   02 Delivery   Room air    02/16 1212
                                   Temp             36. 8    02/16 1212
                                   Pulse              74     02/16 1212
                                   Resp               20     02/16 1212


         Review of Vital Signs Reviewed

         Free Text PE Notes
         Free Text PE Notes
         Appearance: Alert. Oriented X3. No acute distress.
         Eyes: Pupils equal, round and reactive to light. Eyes normal inspection.
         ENT: Moist mucous membranes. Pharynx normal.
         Neck: Normal inspection. Neck supple. No lymphadenopathy
         Respiratory/Chest: No respiratory distress. Normal breath sounds. Left anterior
         chest wall tenderness
         Heart: Regular rate and rhythm. No murmur. Normal heart sounds. Normal pulses
         Abdomen: Soft and non tender. Bowel sounds normal. No mass.
         Back: Normal external inspection. Normal ROM.
         Skin: Skin warm and dry. No rash
         Extremities: Extremities exhibit normal ROM. No lower extremity edema.
         Neuro: Oriented X 3. No motor deficit. No sensory deficit

         Portions of this section were scribed by PANUGANTI,BHAVYA on 02/16/20 at 1419

         Interpretation      Diagnostics

         Lab Results Interpretation
         Considerations In depend review imaging
         Results
         Laboratory Tests



         02/16/20 1240:
         [Embedded Image Not Available]
         Laboratory Tests:
                                                                 02/16    02/16   02/16
                                                                  1240    1238     1230
             Chemistry
               Sodium (136 - 145 mmol/L)                         134 L
               Potassium (3.5 - 5.1 mmol/L)                        4.0
               Chloride (98 - 107 mmol/L)                          105
               Carbon Dioxide (21 - 32 mmol/L)                      26
               Anion Gap (10 - 20 mmol/L)                          7L
               BUN (7 - 18 mg/dL)                                   10
               Creatinine (0.55 - 1.3 mg/dl)                      0.93
               Estimated GFR (MDRD) ( * )                       >60
               Glucose (74 - 106 mg/dL)                             91
               Calcium (8.5 - 10.1 mg/dL)                          8_5
               Total Bilirubin (0.2 - 1.0 mg/dL)                   0.5
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               AST (15 - 37 Units/L)                         29
               ALT (12 - 78 Units/L)                            37
               Total Alk Phosphatase (46 - 116 Units/L)         67
               Troponin I Ultra-Sens (< or = 0.05 fig/mL)   <®.02
               NT-Pro-B Natriuret Pep (<125 pg./mL)          133 H
               Serum Total Protein (6.4 - 8.2 g/dL)           7.7
               Albumin (3.4 - 5.0 g/dL)                       3.9
               Globulin (2.1 - 4.1 g/dL)                      3.8
               Albumin/Globulin Ratio (1.0 - 2.0)             1.0
               TSH (0.36 - 3.74 *)                           2.20
             Hematology
               WBC (4.5 - 11.0 K/mm3)                          9.0
               RBC (4.20 - 5.40 M/mm3)                        4.58
               Hgb (12.0 - 16.0 gr/dL)                        14.1
               Hot (37.0 - 47.0 96)                           41.1
               MCV (80.0 - 99.0 fL)                           89.7
               MCH (27.0 - 32.0 pg)                           30.8
               McHc (30.0 - 37.0 g/dL)                        34.3
               RDW (11.0 - 16.0 9.)                           12.7
               Put Count (150 - 350 K/mm3)                     265
               MPV (7.4 - 10.4 fL)                          11.7 H
               Neut % (Auto) (50 - 70 e)                      68.6
               Lymph % (Auto) (20 - 40 %)                     21.4
               Mono % (Auto) (0 - 8 %)                         6.8
               Eos % (Auto) (0 - 5 e)                          2.4
               Baso % (Auto) (0 - 2 %)                         0.6
             Toxicology
               Urine Opiates Screen                                  NEGATIVE
               Ur Barbiturates, Oual                                 NEGATIVE
               Ur Phencyclidine Scrn                                 NEGATIVE
               Ur Amphetamine Screen                                 NEGATIVE
               U Benzodiazepines Scrn                                NEGATIVE
               U Cocaine Metab Screen                                NEGATIVE
               U Cannabinoids Screen                                 NEGATIVE
               Drugs of Abuse Comment
             Urines
               Urine Color (YELLOW)                                             YELLOW
               Urine Clarity (CLEAR)                                            CLEAR
               Urine pH (5.0 - 8.0)                                                  7. 5
               Ur Specific Gravity (1.005 - 1.030)                               1. 004 L
               U Specif Grav (Refrac)                                              1. 004
               Urine Protein (NEGATIVE mg/dL)                                   NEGATIVE
               Urine Glucose (UA) (NEGATIVE mg/dL)                              NEGATIVE
               Urine Ketones (NEGATIVE mg/dL)                                   NEGATIVE
               Urine Blood (NEGATIVE)                                           NEGATIVE
               Urine Nitrite (NEGATIVE)                                         NEGATIVE
               Urine Bilirubin (NEGATIVE)                                       NEGATIVE
               Urine Urobilinogen (0.2 - 1.0 mg/dL)                                   0. 2
               Ur Leukocyte Esterase (NEGATIVE)                                 NEGATIVE
               Urine HCG, Quay                                                  NEGATIVE

         Recent Impressions:
         GENERAL DIAGNOSTICS - GD CHEST 1V 02/16 1303
         *** Report Impression - Status: SIGNED Entered: 02/16/2020 1311

         IMPRESSION :
         No acute findings.

         loc:   4
(49 of 97), Page 49 of 97   Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 49 of 97
         Impression By: PRKWOKE - Keith Kwok, M.D.


          Lab   Imaging Statement
         Laboratory   radiographic studies reviewed and considered in the medical
         decision-making.



         Point of Care Testing
         Pulse Oximetry
            Pulse 0x % 99
            On: Room air
            Interpretation Interpreted by me, Pulse oximetry normal

         ECG #1 Interpretation
         Text/Dict Note
         Sinus rhythm at 68 bpm with sinus arrthymia with occasional premature
         ventricular complexes. Normal axis. No STEMI
         ECG Documented in MUSE Yes
         Date 02/16/20
         Time 1210
         Interpreted by and reviewed by me, ED physician

         Portions of this section were scribed by PANUGANTI,BHAVYA on 02/16/20 at 1419

         Patient Discharge   Depa rtu re

         Vital Signs/Condition
         Vital Signs
         First Documented:
                                               Result      Date Time
                                 Pulse 0x            99    02/16 1212
                                 B/P            185/105    02/16 1212
                                 B/P Mean           131    02/16 1212
                                 02 Delivery   Room air    02/16 1212
                                 Temp              36. 8   02/16 1212
                                 Pulse               74    02/16 1212
                                 Resp                20    02/16 1212

         Last Documented:
                                               Result      Date Time
                                 Pulse 0x            99    02/16 1212
                                 B/P            185/105    02/16 1212
                                 B/P Mean           131    02/16 1212
                                 02 Delivery   Room air    02/16 1212
                                 Temp              36. 8   02/16 1212
                                 Pulse               74    02/16 1212
                                 Resp                20    02/16 1212

         All vital signs available at the time of this entry have been reviewed.

         Condition Stable

         Clinical Impression
         Clinical Impression
         Primary Impression: Palpitations
         Secondary Impressions: Chest wall tenderness

         Disposition Decision
         Discharge
(50 of 97), Page 50 of 97      Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 50 of 97
            )( Discharged to Home Yes
            )( Time 1426
            )( Date 02/16/20

         Discharge/Care Plan
         Counseled Regarding Diagnosis, Lab results, Imaging studies, Need for follow-up,
         When to return to ED
         Referrals
         NO PRIMARY OR FAMILY PHYSICIAN



         Supervising Physician Note
          Scribe Statement
         PANUGANTI,BHAVYA, 02/16/20 1424, scribing for and in the presence of Douglas
         Malcolm MD
         Signed By: PANUGANTI,BHAVYA, 02/16/20 1424

          Provider Scribed Statement
         I personally performed the services described in this documentation and reviewed
         the documentation that was dictated to the scribe(s) in my presence, and it
         accurately records my words and actions. MALCOLM, DOUGLAS 02/16/28


         Portions of this section were scribed by PANUGANTI,BHAVYA on 02/16/20 at 1419

         I personally performed the services described in this documentation and reviewed
         the documentation that was dictated to the scribe in my presence, and it
         accurately records my words and actions. Malcolm, Douglas B. , MALDO, 02/17/20;
         1543.



         Electronically Signed by Malcolm, Douglas MD on 02/17/20 at 1543

         RPT #: 0216-0409
         ***END OF REPORT***
(51 of 97), Page 51 of 97      Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 51 of 97




                                 DIAGNOSTIC IMAGING REPORT
        REGIONAL MEDICAL CTR.        225 N. Jackson Ave.            San Jose, CA 95116
        PHONE #: 408-259-5000                                      FAX #: 408-729-2878

      Name: GJOVIK,ASHLEY M              L o c : 0 .E D      Radiology No:

      DOB: 08/26/1986 Age: 33        Sex: F Status: REG ER Unit No: 0001240235

      Phys: 0SHJA01 - 0'Shea,James MD                     Acct: 000856217231

      Reason For Exam: ?                                        Exam Date:02/16/2020




        EXAMS:                                                       CPT :
      002034073 GD CHEST 1V                                        714145

                GD CHEST 1V

           HISTORY:     Chest pain

           TECHNIOUE: Portable AP view of the chest 2/16/2020 12:15 PM

           COMPARISON: None

           FINDINGS:
           The lungs are clear. The cardiomediastinal silhouette is within normal
           lim its.    The osseous structures are intact.

             IMPRESSION :
             No acute findings.

             loc: 4


      ** Electronically Signed by M.D. Keith Kwok on 02/16/2020 at 1309 **
                            Reported and signed by: Keith Kwok, M.D.




      CC: James 0'shea MD
(52 of 97), Page 52 of 97   Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 52 of 97
      Dictated Date/Time: 02/16/2020 (1307)
      Technologist: Villanueva,Romit
      Transcribed Date/Time: 02/16/2020 (1307)
      Transcriptionist: 0RAD.VR
      Electronic Signature Date/Time: 02/16/2020 (1309)
      Printed Date/Time: 02/16/2020 (1311) BATCH N0: N/A

      PAGE   1                    Signed Report
(53 of 97), Page 53 of 97                 Case: 25-2028, 05/20/2025, DktEntry: 27.2, Page 53 of 97




                                                                                Lab Result



     Details for

     Pro B-type Natriuretic Peptide
     Encounter ID: Q00856217231




                           16
                        February
       Results for ASHLEY M GJOVIK                             Ordered by O'Shea james MD                               Role Referring

       Facility REGIONAL MEDICAL CENTER                        Specimen collected 2/16/2020 12:40                       Results posted 2/16/2020 1:22 PM
       OF SANJOSE                                              PM
       225 N.lACKSON AVENUE
       SANJOSE CA 95116

       0 4082595000 (tel:4082595000)

       Status Final results, Can only be changed with a corrected result.

        NOTE: Lab results are just one tool used in diagnosis. It is important to discuss the results with your physician in order to fully understand what the findings
        mean in your situation.




         TEST                      RESULT                            RANGE                    LAB                               PAST RESULTS                  REMARKS


                                                                                              Regional Medical
         PRO B-TYPE
         NATRIURETIC               133 pg/mL H                       0   High
                                                                                              Center of Sj 225 N.
                                                                                              Jackson Ave. San Jose
                                                                                                                                View past results
         PEPTIDE
                                                                                              CA 951 16
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                    Case    3:889 Q5/@444%n9§§~wé§43,£w 56a9e92 200                                                                        of


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              24                                      Exhibit: One ofGjovik's Emails to Apple about the Sire

              25             185.       At no time in 2020 Ol' later did Apple ever disclose their fabrication activities and
              26     chemical/gas emissions at 3250 Scott Boulevard to Gjovik. The prior TRI registration was for a

              27
                     different company and Apple did not submit their first filing until mid-202 l. For all Gjovik
              28
                     lalo, 3250 Scott Blvd was currently a simple office building. The Apple Real Estate manager

                                                                                                                     72
                    SECOND AMENDED COMPIAINT i 3123-CV-04597-EMC                                                                           D E C E M B E R 21 2023
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                            Exhibit: 9/2/20 Text Messages               Exhibit: Data Showing VOC Trends
             16
             17
                          184.   Gjovik noticed there was an Apple facility at 3250 Scott Boulevard across the
             18
                   street and it was also on the Superfund groundwater plume. Gjovik mentioned the facility to
             19
                   Apple on at least September 8, 9, 10, and 13 2020 - inquiring if anyone was familiar with the
             20
             21    area because Apple had an office there and Apple having at least one phone call with her -

             22    Elizabeth Schmidt, who was also actually in charge of the EH&S team overseeing Gjovik's
             23    Superfund office at 825 Stewart Drive.
             24
             25
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                  SECOND AMENDED COMPLAINT I 3:23-CV-04597-EMC                                DECEMBER 21 2023
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                     Case 3¢29?8'ib%§88n85'%°88S%1%n'?§*§"El{é3E3/33885|§a%]fe985 of 200



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                3                                  I thought I was dying: My I
                                                   apartment was built on toxic
                4                                  waste
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                                                      Exhibit: Gjovik's 3/26/2] Article
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                            223.    On March 29 2021, Gjovik messaged a coworker, Mike, who also reported to
               14
                     Powers, and she said, "As of last Monday Dave has forbidden me ffom talking about health
               15
               16    concerns about [Stewart I office] to anyone other than him, HR, and EH&S. I actually found

               17    some stuff ond I can tell you, but you have to promise to tell him I'm not telling you. " Mike

               18    confirmed he would not tell Powers Gj ovik was discussing safety concerns, so Gj ovik did not
               19
                     get in trouble with Powers.
               20
                            224.    Mike responded to Gj ovik's map of their office with vapor intrusion results
               21
                     saying, "Holy hell. Where did that [Stewart I o]j?ce] map come from? [fife entire Istfloor is
               22
               23    over the US. EPA max, why is the building still open? " Mike worked only feet away from

               24    Gjovik in their office. Gjovik explained she "made the map overlaying data from historical
               25    testing [Apple and Northrop Grumman] did with [Apple 's] own maps so we can see that one
               26
                     place and bring it home [IO Apple] that this is [Apple 's] employees. " Then Mike responded,
               27
                     "What's crazy i5 that on the Geolracker, they say no day care, no elder care, no residential, etc.
               28


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                    SECOND AMENDED COMPLAINT I 3:23-CV-04597-EMC                                  DECEMBER 21 2023
(57 of 97), Page 57 of 97
                      Case 3:88985@J9&%n?§§"Mé333/8% 5388989 of 200

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                                           Yeah. Can you sand that stuff to my email
                                           Instead of work? My mail account is ro=l.rt§neh;
               12                          scanned for lawsuits. So best not to have that at
                                           work
               13
               14                                     Exhibit: Gjov§Ic'.s' Texts with West - 4/5/21

               15              232.   On April 5 2021, Gj ovik lnessaged with West about an article she wrote about the
               16
                      apartment on hazardous waste she lived at that made her ill in 2020. Gjovik informed West five
               17
                      other people contacted her who were also sick at the apamneut and that sl;1e had been wared
               18
                      about retaliation, possibly including physical violence, from the property elmer, Irvine
               19
               20     (.`0111pa11y.

               21              233.   Gj ovik told West she had sleeping with a knife under her pillow and West told
               22
                      her not to sleep with the rife anyiuore, or a gun, so it will not be used against her and to 'instead
               23
                      obtain pepper spray or a laser.
               24
                               234.   West also wared Gjovik should w oy about digital suweillauce as well and
               25

               26     suggested Gjovik purchase a necklace that includes a panic button and calls ADT agents. West

               27     told Gjovik 'lfyozz don 'f have a therapist give EAP a eaff. You 're in a sfres.g)'in' siruarfan (to say

               28     The Ieaslj.


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                     SECOND AMENDED COMPIAINT i 3123-CV-04597-EMC                                      DECEMBER 21 2023
(58 of 97), Page 58 Case
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                2               265.   On April 30, 2021, there was another phosphide gas leak at the 3255 Scott Blvd
                3
                      facility. The city Fire Department/I-IazMat agency report said the leak required au evacuation
                4
                      and that phosphine gas was vented into the exterior air. Two weeks later, on May 13 2021,
                5
                      Apple submitted manifests to transport sixty pounds of 'vacuum differs with glass shards' to a
                6

                '7    waste disposal facility. 140

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                                                    Exhibit: 5/13/21' Manifest with "Glass Dust"
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                      140 Uniform Hazardous Waste Manifest. Apple Luc. May 13 2021. Tracking #015756482

                                                                                   102
                     SECOND AMENDED CO1\1P1A1NT i 3123-CV-04597-EMC                                                        DECEMBER 21 2023
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               14                                      Exh1lb§f.'4/30 CQIOES en trjvjifed by Srrnra Clara FD

               15             266.        The "wzczrrrmfffters with glass sflrlrds" and temporal proximity to the leak o f a
               16
                      highly flauunable and unstable gas,141 suggests, there was a n explosion during/related to the
               17
                      Apiil 30 2021 leak. Under iufonnation and belief there was a phosphine explosion on April 30,
               18
                      2021. Under iufonnation and belief, the residents i11 the apartments were never noticed of the
               19

               20     explosion or the venting of phosphine into their air.

               21             267.        Pllosphine gas is a reportable substance under 42 U.S. Code §§ 1712, 9602, and

               22     9603. Phosphide is an "Extremely Hazardous Substance" under CERCLA Section 103 and
               23
                      EPCRA Section 304.
               24

               25
                      141 NOAA. Cameo Cfierrricafs - Phosphine, h'rtps:1*"callleocheuiicalsnoaa.gow'ehenlicaL*1322 "Very toxic
               26
                      by inhalation at extremely low concentrations. Prolonged heating may cause containers to ntpmre
               27     violently and rocket... Highly flammable. Usually ignites spontaneously in air. Bums with a luminous
                      flame... Pliosphine can explode with powerful oxidizers. The gas is heavier than air and may travel along
               28     the ground to an ignition source. Container may explode in heat of fire, .. Reacts violently with: air...
                      Liquefied phosphine can be detonated... Forms explosive mixtures with even small amounts of oxygen.
                      Autoignites at low pressure."
                                                                                                     103
                     SECOND AMENDED COMPIAINT i 3123-CV-04597-EMC                                                                                     D E C E M B E R 21 2023
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                                    GJOVIK V. APPLE

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                1             443.     011 August 21 201, Gjovik submitted the first revised Issue Confumatiou to Okpo

                2     and also posted 011 Twitter about it. On Twitter, she provided screenshots of the document where
                3
                      she suggested Apple needed to investigate itself for RICO Act violations including 'j'i*aua" and
                4
                      "organized witness farnperfng" among other coucems.183
                5

                6

                '7
                                                 o      Ashley M. Gjivik
                                                        iélashieygjnwk
                                                                                                                       promote


                                                 Based on my experience, 8: the non-stop horror stories I now hear EVERY
                                                 DAY from current & past #Apple enwloyees, I'm now also asking employee
                                                 relations to investigate themselves.
                8                                0116 "issue" I'm raising to them is literally RICO.
                                                 @USDDL, I may need to schedule an interview soon.
                9                                                                            *I'
                                                         Concerns éuwu (DRAFT ):
                                                                Hostile work aw based on six (2015-annum)
               10                                               Hostile work en based in disability (2020ww1l}
                                                                Failure: lo resolve hostile work uivinoruncnt [201 S-cum:nt)
               II                                               Scxua! harassment {2.015. 2018. 2019)
                                                                Civil assault & burrow' (2015)
                                                                Far: imprisonment (2015-6}
               12                                               Ncgliguicc & battery (2017-2020)
                                                                Civil assault (20211
                                                                Quid pro quo 1 bribe (2015)
               13                                               lnltrltiunal Infliction of Emotional Dislruts (201 s. 20211
                                                                Bullying (2015-2016. 2021 )
               14                                               non & FMLA violations (2020-202 I1
                                                                Unsafe work couditintts (2017-4:\uTcl1t}
                                                                Toxic on, occupational exposure (2017-cumzm)
               15                                               Violation of OSHA law!! & Right In Knofw statute (2011-t:m1\=n\}
                                                                Failure to :upon workplace injuries (2017, 2019)
                                                                Failure lo sock moclical attention for life tlll'oalcning injury (2017)
               16                                               Rdaliati-on for whistlvsbiowing (2016. 2020. 211211
                                                                Retaliation for pmtocted oonocned aciisritics (2020-2021)
               17                                               Rctdialory comuuctivc lamination (2015. 2016. 2016, 202 I )
                                                                RICO (Unluiown-cuncnz)
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               21                                4:12 PM Aug 21, 2021


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                                            E11c!:ibir.' Gjovfk's Issue Corjirmarion Concern Lfsr, 8/2]
               23

               24
                              444.     Shortly after GjoviJc's post about Apple and RICO, a fake Twitter account called
               25
                      "Mel Nayer," began replying to Gjovik's posts making threats and wild allegations. Nayer said,
               26
                      "771is' is an ACTIVE @Apple investfgarion and the managers accused are now receiving death
               27

               28

                      183 Twitter, Ashley Gjovik. https:!:'hni1ter.com,*'ash1ey8lovik!status:'1429 l T4603'}'l3191936
                                                                                          184
                     SECOND AMENDED COMPIAINT i 3123-CV-04597-EMC                                                                         DECEMBER 21 2023
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                                                                                                    orrlck
                                                                                                    Orrick, Herrington a Sutcliffe LLP
                                                                                                    1000 Marsh Road
                                                                                                    Menlo Park, CA 94025-1015

            March 4, 2022                                                                           +1 650 614 7400
                                                                                                    orrick.com
            VIA ELECTRONIC MAIL

            Andrea Diangco, Regional Investigator                                                   Jessica R. Perry
            Whistleblower Protection Program                                                        E        jpe @nmd<.
            U.S. Department of Labor, OSHA                                                          D        +1 ggo614 ?350
                                                                                                    F        +1 650614 7401
            300 Fifth Avenue, Room 1280
            Seattle, Washington 98104
            diangco.andrea@dol.gov


            Ashley Gjovik, Complainant
            1050 Benton Street. Apt. 2310
            Santa Clara, California 95050
            ashleymgjovik@protonmail.com

            Re:      Ashley Gfovik v. Apple fnc., Case No. 9-3290-22051

           Dear Ms. Diangco:

           This firm is counsel to Respondent Apple Inc. in the above-referenced matter. This letter is Apple's initial
           response to the amended complaint ("Complaint") filed by Ashley Gjovik on November 2. 2021. This
           response' contains confidential business information belonging to Apple, accordingly, Apple requests that
           it be kept confidential and that Apple receive pre-disclosure notification pursuant to 29 C.F.R. § 70.26 in
           the event of any FOIA request covering this response.

            Apple submits this response without waiving its right to respond further, including to any additional
            submission that Ms. Gjovik may make. While we believe that this response demonstrates Ms. Gjovik's
            retaliation claim has no merit, please let us know if you believe additional information would be helpful.


            Except as expressly admitted below, Apple denies Ms. Gjovik's allegations in the Complaint in full.

            |.       INTRODUCTION

            Ms. Gjovik's retaliation claims here hinge an her proving that Apple retaliated against her for raising
            concerns about (1) unsafe work conditions and (2) an Apple board member's alleged oontlict of interest
            regarding efforts to remediate those alleged conditions. All of her claims are without merit.




           1 Apple has a compendium of evidence In support of this response available upon request, should you believe lt would
           be helpful in connection with your review of Ms. G}ovlk's Complaint.


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             Apple did not terminate Ms. Gjovik's employment because she voiced concerns, but instead because she
             violated Apple policy by intentionally disclosing confidential information about Appfe products on
             TWitter and, as Appfe later discovered, to the press, in clear breach of her confidentiality obligations.
             And she refused to meaningfully cooperate in Apple's investigatory process.

             Indeed, Ms. Gjovik's termination was well after she first voiced the concerns on which the present Complaint
             is based. According to Ms. Gjovik, she first raised concerns to Apple in March 2021, more than six months
             before she was terminated, in the interim, Apple engaged repeatedly and in good faith in an effort to address
             Ms. Gjovik's concerns. Apple had legitimate business reasons to terminate Ms. Gjovik's employment, and
             the six-month time gap is too attenuated to su pport any inference causation - a key element of each of Ms .
             Gjovik's three claims under the Occupational Safety and Healer Act ("OSHA") section 11(c), the Sarbanes-
             Oxley Act ("SOX"), and the Comprehensive Environmental Response, Compensation and Liability Act
             ("CERCLA").

             II.      FACTUAL BACKGROUND

                      A.      Apple Prohibits Discrimination, Harassment, and Retaliation.

             Apple has a firm and long standing commitment to diversity and inclusion and does not tolerate
             discrimination, harassment, or retaliation of any kind. Apple takes seriously its legal obligations to maintain
             a workplace free of discrimination, harassment, and retaliation and complies with all federal and state
             requirements imposed upon it. Apple has and strictly enforces its non-discrimination, anti-harassment, and
             non-retaliation policies.

             Apple has an Employee Relations ("ER") team within its People function that investigates internal
             complaints of discrimination, harassment, and retaliation. Employees can complain openly or anonymously.
             And there are many avenues for them to raise complaints: they may speak directly to any Apple manager,
             contact Apple's People Support team ardor their People Business Partner, contact the confidential
             Business Conduct Helpline via phone, email, or online submission, or submit a confidential or anonymous
             report to EthicsPoint. Apple's third-party vendor. Apple policy strictly prohibits retaliation for reporting any
             complaints or concerns.

                      B.      Ms. Giovik Worked at Annie for Six Years in a Role That Furnished Her Access to
                              Highly Confidential Apple Product Information - Which She Agreed to Protect.

             Apple hired Ms. Gjovik as an iOS Build Engineer Project Manager at Apple's Sunnyvale, California location
             in February 2015. She subsequently transitioned to an Engineering Program Manager role and then was




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            promoted to a Senior Engineering Program Manager role in January 2017. She held that position until the
            termination of her employment on September 10, 2021 .2

           Upon joining Apple, Ms. Gjovik agreed-as a condition of employment-to comply with Apple's
           confidentiality policies. On January 31 , 2015, ms. Gjovik signed the Confidentiality and Intellectual Property
           Agreement ("Confidentiality Agreement"). The Confidentiality Agreement "prohibits [Ms. Gjovik], during or
           after employment, from using or disclosing, or permitting any other person or entity to use or disclose, any
           Proprietary information without the written consent of Apple, except as necessary to perform [her] duties
           as an Apple employee." "Proprietary information" includes, inter alia, non-public "materials or information
           relating to past, existing, or fLiture products and services," Ms. Gjovik agreed to "strictly comply with all of
           Apple's rules and policies regarding proprietary information" and understood that breach of the agreement
           could result in termination of her employment. Additionally, the importance of protecting Apple's confidential
           pre-release product information is clearly set out in the company's Business Conduct Policy: "One of
           [Apple's] greatest assets is infomlation about [its] products and services, including future product offerings."
           To safeguard information about Apple's products, employees are prohibited from disclosing confidential
           information without prior approval of management.

            As a Senior Engineering Program Manager, Ms. Gjovik had access to proprietary and trade secret
           information about unreleased products and features under development, which was shared internally only
           with those who had a business need to know. From time to time, Ms, Gjovik was given the opportunity to
           participate in new product or feature user studies and to test unreleased prototypes. On each occasion,
            Ms. Gjovik's participation was entirely voluntary and at times required her to agree to additional
            confidentiality obligations that prohibited her from disclosing any information about the existence of the
            study or her participation in it.

           In July 2018, Ms. Gjovik participated in a user study of an internal and proprietary application called
           "Alpha."3 Because the Alpha application was still in testing phase and unavailable to the public, Apple
           required all participants- as a condition of participating-to maintain strict confidentiality. Ms. Gjovik signed
           the Alpha Study Consent Form and expressly acknowledged that any information about the study. including
           her participation, was confidential under the Confidentiality Agreement and could not to be disclosed to
           third parties ("[b]y agreeing to participate in this study, you acknowledge that any information about the
           Study, including any Study details or the fact of your participation, are considered Apple Confidential
           information, and are covered by the obligations under your agreements with Apple.").



            2 In 2018, Ms. Gjovlk requested. and Apple granted, a flexible work schedule to allow her to continue working full-tlme
            while also attending law school. This arrangement continued urn the 1el'rrlirl81ior1 of Ms. Gjovik's employment.

           3 Apple refers to this study by the codename "Alpha" in an effort to protect Apple's confidential product inform anion from
           further unauthomed disclosure.



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                     C.      Ms. Giovik Disclosed Apple's Confidential Information In Violation Of Her Written
                             Confidentiality Agreements and Refused to Meaninufullv Particinate in the
                             Investigation Into Her Conduct.

           On August 28, 2021. Ms. Gjovik tweeted" details about a proprietary study Apple was conducting,
           codenamed "Omega," about a confidential Apple product.5 Like the Alpha study, the details of Omega were
           not known except to a small select group within Apple, and certainly not outside Apple, and Ms. Gjovik
           agreed to keep them confidential under her Confidentiality Agreement. Despite this, Ms. Gjovik's tweet both
           identified the name and purpose of the study regarding an unreleased product under development. Ms.
           Gjovik's tweet was retweeted the same day by an account dedicated to posting predictions about future
           Apple products. The next day, Apple received a fom'lal complaint through its Business Conduct Hotline that
           Ms. Gjovik had publicly disclosed confidential infom'lation about the Omega study.

           On August 130, 2021. Ms. Gjovik tweeted photographs and a video of herself created by the Alpha
           application, thus disclosing Apple confidential information. She also linked to a story published in The
           Verge, a technology blog, in which she disclosed her participation in the Alpha study.6

           Ms. Gjovik knew her conduct was inappropriate, she had previously reported similar conduct by other Apple
           employees as a violation of their employee confidentiality obligations. in January 2020, Ms. Gjovik reported
           to Apple conduct of former employees who gave an interview in which they disclosed, among other things,
           internal code names, which Ms. Gjovik stated were "trade secret."

           Upon Ieaming of her unauthorized disclosure, Apple promptly launched an investigation. On September 9,
           an Apple investigator requested to speak with Ms. Gjovik as part of that investigation. Ms. Gjovik refused
           to be interviewed, and Apple completed its investigation based on the available information, including her
           publicly available Twitter posts. Based on clear evidence, Apple concluded that Ms. Gjovik had violated her
           confidentiality agreements and Apple policy.




            4- In March 2021-the same time Ms. Gjovlk asserts she began raising alleged concerns withApple--Ms. Gjovik created
           and has since maintained an alive Twitter account.
           s As with the Alpha study. Apple refers to this study by the codename "Omega" In an efron to safeguard Apple's
           confidential product lnfomlation.
            6 Zoe Schiffer, Apple Cares About prfvacy. Unless You Work at Apple. The Verge (Aug, 30. 2021).
            hms:f    .thevema.corn!226482651aDple-employee-pr1vacy-icloud-id.



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                     D.       Apple     Terminated      Ms.    G[ovik's     Employment        Because      She    Violated     Her
                              Confidentiality Dblioations And Refused to Cooperate During An Internal
                              Investigation.

           On September & Apple terminated Ms. Gjovik's employment effective the following day for her violation of
           her Intellectual Properly Agreement, company policy, and her refusal to cooperate during Apple's internal
           investigation process. Apple's Misconduct and Discipline Policy provides that certain conduct may warrant
            immediate termination, specifically including "[v]iolating confidential, proprietary, and trade secret
           information obligations (including those stated in Apple's Intellectual Property Agreement)" and "interfering
           or failing to cooperate with an investigation."

                     E.       Ms. Giovik Subseuuentlv Admitted That She Disclosed Angle's Confidential
                              Information.

            On September 15, 2021 , a different Apple employee made another report to the Business Conduct Helpline
            that Ms. Gjovik had publicly disclosed information about the Alpha study. The employee attached
            screenshots of text messages they had exchanged with Ms. Gjovik dated August 20, 2021. In the text
            messages, Ms. Gjovik admitted to disclosing confidential information about the Alpha study to Zoe
            Schiffer, a reporter from The Verge:

                     l'm helping Zoe with the privacy article. I gave her [Alpha] details because that bothers me too
                     l'm even letting her include a few pies from [Alpha].

            As discussed above, Ms. Gjovik's very involvement with the Alpha study constitutes confidential
            information, as do any details about the study or photos or other documents that are the product of it?
            Apple's subsequent confirmation that she admitted to disclosing confidential information publicly and
            intentionally further justifies Apple's termination decision.

                     F.       Ms. Giovik Made Other Various Claims Apple Has Diligently Investigated.

                              1.       Apple Investigated Ms. Giovik's Safety Ccmcems And Repeatedly
                                       Encouraged Her to Raise Them.

            Beginning in March 2021, Ms. Gjovik raised various concerns about a vapor intrusion study in the Stewart
            1 building in which she worked. In response, Apple met wRh Ms. Gjovik at least seven times to provide her
            with numerous reports per her requests, encouraged her to report any further concerns she had to Apple's



            7 Apple promptly contacted Totter to request removal of Ms. Gjovlk's tweets disclosing confidential infom7at1on. Twitter
            refused. Through counsel. Apple thencontacted Ms. Giovik and she agreed to remove the tweets.




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            Environmental, Health 8 Safety ("EHS") team, and worked with her to find a reasonable accommodation
            for her perceived concerns.

           Stewart 1 is a Superfund site that has been redeveloped for commercial use and was deemed acceptable
           for      occupancy       by       the       Environmental     Protection    Agency        (EPA).       See
           https:Hcumulis.epa.gov1'supercpadiSiteProfilesfindex.chn?fuseaction=second.redevelop&id=D901181 ).
           Apple conducts periodic evaluations and preventative maintenance of buildings with vapor intrusion
           mitigation systems as part of its vapor intrusion management program. Accordingly, on February 18, 2021 ,
           Apple notified building access managers of Stewart 1 that it would be conducting a routine "vapor intrusion
           survey" in Stewart 1. On March 17, 2021, Ms. Gjovik began asking questions about the planned work, while
           alleging to have experienced hazardous vapor intrusion before at a non-Apple site and the issue had, in
           her words, "become a bit of a personal crusade." Ms. Gjovik requested to meet with Apple's EHS
           depam ent and over the next four months, EHS and Apple management met with Ms. Gjovik repeatedly in
           an effort to address her questions and concerns:

                     March 22. 2021: Ms. Gjovik met with her manager to discuss the vapor intrusion survey, and her
                     manager invited Ms. Gjovik to share any concerns she had with Apple's experts in the EHS
                     department.

                     April 2. 2021: Ms. Gjovik met with an EHS expert and ER representative to discuss the vapor
                     intrusion survey. Ms. Gjovik sent a list of 17 questions to the EHS expert and ER representative
                     before the meeting which, as Ms. Gjovik noted in her meeting recap, they addressed during the
                     meeting. Specifically, Ms. Gjovik's notes state that EHS informed Ms. Gjovik that a vapor intrusion
                     mitigation system had been installed in 2014 before Apple moved into the building, and no
                     unacceptable vapor intrusion was occurring at the site. per 2015 testing results, which EHS also
                     provided to Ms. Gjovik. Additionally, Ms. Gjovik's notes state that Apple personnel reiterated during
                     the meeting that she could "speak freely about [her] working conditions" without fear of retaliation ,
                     expressly stated that she was permitted to contact the EPA, and encouraged her to report to EHS
                     any chemical odors as soon as possible."

                     April 9. 2021: EHS sent Ms. Gjovik links to reports about vapor intrusion per her request.




           8 Shortly a11er EHS told Ms. Gjovik that she may contact the EPA, Ms. Giovik reached out to the EPA to express her
           concerns. On June 7, 2021. the EPA described to ms. Gjovik the various protective measures that have been
           implemented to prevent vapor intrusion into the Stewart 1 building. and further explained that me 2015 testing results
           'demonstrated that the chemicals related to the [site} were less than EPA's indoor air human health risk screening
            values for workers." The EPA assured Ms. Gjovik that it 'believes the remedy in place at the [site] lemans protective."
            The EPA additionally clarified to Ms, Glove that "there is no specific EPA requirement to notify each site visitor or
            construction or office worker of a mitigated potential risk."


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                .    April 11, 2021: Ms. Gjovik thanked the EHS expert for his "transparency" and sent him 16 additional
                     questions.

                •    April 27. 2921: Ms. Gjovik met with an ER representative and alleged that her manager had told
                     her she could not share her concerns about the Stewart 1 site (a claim he denied). ER again told
                     Ms. Gjovik's that she was hee to share information about "the terms and conditions of [her]
                     employment" (without restriction), and encouraged her to strive to ensure information she shared
                     (including about what Apple personnel had told her) was accurate and complete.

                •    May 17, 2021: Ms. Gjovik had another meeting with EHS and ER, during which EHS reassured her
                     there was no concerning vapor intrusion at the Stewart 1 site. EHS also answered the 16 follow-up
                     questions Ms. Gjovik had posed in her April 11 email. Per Ms. Gjovik's meeting notes, ER again
                     told her she could share her concerns with anyone and "Apple would never restrict [her] right to
                     speak about workplace safety ooncems."


                     May 18. 2021: Ms. Gjovik met with her skip-level manager. During the meeting he encouraged her
                     to continue to raise any concerns she had with EHS and ER, and in a follow-up email stated "Apple
                     does not tolerate retaliation for raising concerns. I know you raised some issues to EH&S about
                     Stewart 1     so please continue to work with EH&S to address your questionsfooncems."

                     June IQ. 2921; Ms. Gjovik met with ER and discussed the possibility of an accommodation to work
                     remotely, allegedly due to her concerns about the safety of the Stewart 1 site. ER answered Ms.
                     Gjovik's questions about the accommodation request process and continued to work with Ms.
                     Gjovik over the next six weeks in an effort to identify a reasonable accommodation that would work
                     for both Ms. Gjovik and Apple.9

                     July 2, 2021: ER emailed Ms. Gjovik Io follow up on Ms. Gjovik's questions regarding scheduled
                     work in the building. ER provided an update, and explained that Apple was in the middle of a three-
                     step project-first announced in February 2 0 2 1 - that involved (1) evaluating potential pathways
                     through which vapors could potentially enter the building, (2) voluntarily and preventatively sealing
                     any potential pathways, including cracks in the floor that were the result of natural floor movement,
                     and (3) conducting indoor air testing once the sealing was complete.

                     July 7, 2021: Ms. Gjovik met with EHS and ER to discuss the voluntary plan to preventatively seal
                     potential pathways for vapor intrusion and to conduct air testing. EHS assured Ms. Gjovik of the


           9 Ultimately, Ms. Gjovlk's request for an accommodation became moot in August2021 when Apple granted Ms. Gjovik's
           request for paid administrative leave while Apple investigated a separate and unrelated complaint she had made about
           her work environment.



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                      building's safety, explaining that measures were in place to mitigate the potential for vapor intrusion .
                      EHS again reviewed the three-step project announced in February 2021 and explained it was part
                      of Apple's regular maintenance, not due to concerns regarding the safety of the building. EHS also
                      explained that no EPA reporting was necessary because Apple's planned work was routine and
                      voluntary.

             Far from retaliating against Ms. Gjovik in an effort to stile her ccncems about workplace safety, Apple
             devoted significant time and resources to addressing them.

                               2.       Apple Investigated Ms. Glovik's Concerns About an Alleged Conflict Of
                                        Interest be an Apple Board Member.

             On July 19, 2021. Ms. Gjovik wrote to the EPA regarding her belief that a member of Apple's Board of
             Directors (Ronald Sugar) had a conflict of interest regarding the Stewart 1 building. She contended that
             because Mr. Sugar had previously been the CEO of Northrup Grumman - which Ms. Gjovik asserted was
             primarily responsible for maintaining environmental safety at Stewart 1 - Mr. Sugar had made or supported
             decisions favorable to Northrup Grumman in connection with Stewart 1, at Apple's expense. Ms. Gjovik
             forwarded her communications with the EPA to the ER team on July 27, 2021 and again the following day.

             Apple did not stifle Ms. Gjovik's concerns, it instead investigated them and found that they lacked merit. By
             the time Apple's investigation regarding this issue was complete, however, Ms. Gjovik had been terminated
             for breach of her confidentiality obligations.

                               3.       Apple Granted Ms. Giovik's Request To Be Placed On Paid Administrative
                                        Leave.

             On July 20, 2021, Ms. Gjovik raised new concerns that she believed her managers were creating a "hostile
             work environment."'° When she met with an ER Investigator to discuss those concerns, Ms. Gjovik
             suggested administrative leave as a "short-term" solution to the alleged issue and confirmed her suggestion
             in the email summary she sent ER after their discussion.

             On August 4, 2021, Ms. Gjovik met with ER again and expressly requested to be placed on paid
             administrative leave. ER agreed and confirmed by email:




             10 Apple expressly denies Ms. Giovlk's hostile work environment claims. which are not at issue here but instead are me
             sub}ect of her separate charges with the DFEH, EEOC, and NLRB. Apple does, however, discuss her hostile work
             environment allegations herein to the limited extent relevant heme (e.g., responding to her claim that she was
             "suspended" in August 2021 which in fact she requested and was granted paid administrative leave).



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                      I want to confirm our conversation a few minutes ago. Per your request, you are now on paid
                      administrative leave so as to not interact with your managers.

             Ms. Gjovik did not email ER back. But that same day, Ms. Gjovik misrepresented their meeting in a tweet,
             alleging that Apple had "suspended" her by placing her on an involuntary "indefinite" leave. ER emailed Ms.
             Gjovik to correct her misrepresentation the following day. ER told Ms. Gjovik that since the paid leave was
             at her request. she could return to work at any time. Ms. Gjovik never responded.

             III.     ARGUMENT

             Apple terminated Ms. Gjovikls employment because she chose to disclose confidential Apple product
             information she was under an obligation to keep in confidence, and then refused to participate into the
             internal investigation of that disclosure. Simply put, there was no retaliation under OSHA, sox, or CERCLA.
             Ms. Gjovik has not established-and cannot establish-a prima facie case of retaliation. All three statutes
             require that Ms. Gjovik show: (1) she engaged in a protected activity, (2) Apple knew or suspected that she
             engaged in the protected activity, (3) she suffered an adverse action, and (4) the protected activity was at
             least a contributing factor" in the adverse action. See 29 U.S.C.A. § 660(c)(1) (OSHA 11(c)), 18 U.S_C.A.
             § 1514A(a) (SOX), 42 U.S.C.A. §9610(a) (CERCLA).12 Because none of her expressions of concern was
             a "contributing= factor" in her termination, she cannot establish retaliation on the facts .


             11 While the three statutes have driferent causation standards, It Is immaterial because Ms. Gjoylk cannot establish
             causation even under the most lenient "contributing factor' standard. 29 C.F.R. §1980.104{e)(2)(iv) {SOX) (contributing
             factor causation standard), 29 C.F.R. §24.194(e)(2}(iv} (CERCLA) [motivating factor causation standard). 29 C.F.R. §
             19?7.6{b) {OHSA) (but-for causation standard).

             12 Apple does not concede that Ms. Gjovik can establish any of the four elements of a retaliation claim under these
             statutes. For example, Ms. G[ovikls allegedly activity would not quality as protected under sox [and thus could not
             ground any SOX whistleblower claim). In the Complaint and memorandum Ms. Gjovik submitted to the DOL, she asserts
             that she engaged in a number of activities including reporting an Apple board member's alleged conflict of interest,
             reporting that Apple failed to notify employees they wonted on e Superfund site. and ieporting e failure to address
             workplace safety. among others. None of these alleged actions constitute protected SOX activity. however. See 1B
             U.S.C. § 1514A{a}(1) (employee must allege conduct the employee 'reasonably believes constitutes a violation of
             section 1341 [mail fraud], 1343 [wire fraud], 1344 [bank fraud), or 1348 [securities fraud], any rule or regulation of the
             Securities and Exchange Commission, or any provision of Federal law relating to fraud against shareholders"), see also
             Verfuerth v. Orion Energy Sys., inc.. 879 F.3d 789, 793-94 (7th Cir. 2018) (complaints about conflicts of interest and
             violations of internal company protocol not about "fraud" within meaning of SOX): Gauthier v. Shaw Grp., inc., 2012 WL
             6043012, at '6 {W.D.N.C. Dec. 4. 2012) (dismissing plaintiffs complaint, finding that his reports were related to nuclear
             safety. not fraud against shareholders), Levi v. Anheuser-Busch Cos., Inc.. ALJ Case No. 2006-SOX-37. 2005 WL
             3246840. at '16 [May 3. 2006) {complaints about workplace safety and manager incompetence did not contain any
             allegations of fraud). For purposes of this responsive statement, however, Apple focuses on select elements of her
             prima facie case (as a failure to establish any of them is fatal) without prejudice to additional arguments that may be
             available.



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                      A.      Apple Terminated Ms. Glovik For Leqitimate Reasons Unrelated to Her Concerns.

             Apple terminated Ms. Gjovik for legitimate business reasons: she violated her own written confidentiality
             agreements with Apple and Apple's policies, both by disclosing confidential product information and by
             refusing to cooperate in an internal investigation. Because Apple would have terminated Ms. Gjovik for this
             conduct even had she never raised any safety or conflict of interest (or any other) concerns, Ms. Gjovik's
             claims fail under CERCLA, SOX, and OSHA. See Crosby v. U.S. DeptofLa.b., 53 F.3d 338 (Table), 1995
             WL 234904, at *1 (9th Cir. 1995) (affirming that employer did not violate CERCLA where the employer
             showed that it had legitimate, nondiscriminatory reasons for terminating the employee, including poor work
             quality, insubordination, and refusal to work on a project), Riedeil' v. Verizon Commc'ns, ALJ Case No.
             2005-sox-00077, 2006 WL 3246893, at *11 (Aug, 14, 2006) (dismissing SOX claim where complainant
             failed to offer evidence sufficient to undermine employer's contention that he was fired for legitimate reason
             of refusing to participate in a meeting with management), Solis v. Consol. Gun Ranges, 2011 WL 1215028,
             at *B (WD. Wash. Mar. :30. 2011 ) (determining under OSHA section 11(c) that employee's protected activity
             was not but-for cause of termination where employer showed that it would have terminated employee in
             any event).

             The only reason that Apple terminated Ms. Gjovik's employment was due to her own deliberate breaches
             of her con'fidentiality agreements and violations of Apple policy. Disclosing confidential product information
             and refusing to meaningfully participate in internal investigations are both bases for immediate termination
             under Apple's Misconduct and Discipline policy. They are also recognized as legitimate bases for
             termination under relevant case law. See, Ag., Galinsky v. Bank of Am., Corp., ALJ Case No. 2011-SOX-
             010, ARB Case No. 11-057, 2012 WL 5391424, at *10-11 (ARB Oct. 31, 2012) (substantial evidence
             supported finding that complainant would have been discharged in any event due to, among other things,
             violating company policy by downloading sensitive corporate information for his personal use), Grove v.
             EMC Corp., ALJ Case No. 2005-SOX-00099, 2007 WL 7135739, at '24-25 (July 2, 2007) (finding that
             complainant's termination was due to his unreasonable refusal to cooperate in respondent's investigation
             of the issues he raised and thus not actionable under SOX).

             Ms. Gjovik knew when she disclosed the confidential information on social media that she was violating
             Apple's policies, she had reported others less than two years prior for doing the exact same thing. There is
             no evidence that Apple's reasons for termination were pretext, nor is there any evidence that Apple
             harbored animus toward Ms. Gjovik for raising concerns, on the contrary, it took them seriously and
             engaged in good faith investigations of the issues she raised. Indeed, Ms. Gjovik's termination was
             consistent with Apple's practice of terminating other employees who violated their confidentiality
             agreements by disclosing unreleased product information, since 2017, Apple has terminated the
             employment of at least nine employees for violating their confidentiality obligations.

             In short, Ms. Gjovik's expressions of concern played no role in her termination - nor is there any evidence
             that they did - and her retaliation claims should be dismissed.



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                      B.      Ms. G[ovik's Repeated Expressions of Concern Even After Apple Had Responded
                              Do Not Support A Retaliation Claim.

             Apple (and later the EPA) thoroughly responded to Ms. Gjovik's initial workplace safety concerns, and thus
             Ms. Gjovik's subsequent expressions of concern regarding workplace safety were unreasonable and her
             activities lost any protected status as a matter of law. See, kg., Williams v. U.S. Dept of Labor, 157 Fed.
             App'x 564, 570 (4th Cir. 2005) (teacher's whistleblowing activities initially protected under CERCLA but
             "[o]nce her concerns were addressed ... it was no longer reasonable for her to continue claiming that these
             schools were unsafe and her activities lost their character as protected activi'ty"); Day v. Staples, fnc., 555
             F.3d 42, 5B (1st Cir. 2009) (under SOX, employee's complaints "were not initially reasonable as beliefs in
             shareholder fraud and they became less reasonable he was given explanations" by the employer), see also
             Grant v. Dominion East Ohio Gas, ALJ Case No. 2004-SOX-00063, 2005 WL 6185928. at '40 (Mar. 10,
             2005) (under SOX. finding whistleblower protections do not "protect an employee who simply raises
             questions about virtually everything with which [she] disagrees or does not understand" or who "simply
             assumes a company has retaliated against [her] because [she] raised a lot of questions, lodged a lot of
             complaints, and labels [herself] a 'whistleblower"').

             Apple responded to Ms. Gjovik's concerns regarding its plan to voluntarily and preventatively seal potential
             pathways for vapor intrusion and to subsequently conduct air testing; thus, Ms. Gjovik's continued
             expressions of ccncem about the plan do not constitute protected activity. Ms. Gjcvik first expressed
             concerns related to the planned woNt on March 17, 2021. On April 2, 2021, EHS informed Ms. Gjcvik that
             measures had been taken prior to Apple occupying Stewart 1 to mitigate potential for unacceptable vapor
             intrusion, and that further testing - which was performed after those measures had been implemented --
             confined that no unacceptable vapor intrusion at the site was occurring. On May 17, 2021, EHS reassured
             Ms. Gjovik that there was no concerning vapor intrusion at the Stewart 1 site, and answered Ms. Gjcvik's
             simeen questions from her April 11 email. And on July 7, EHS met with Ms. Gjovik to (1) again reassure
             her that measures were in place to mitigate the potential for vapor intrusion, (2) explain the work was part
             of Apple's regular maintenance program, not due to any concerns regarding building safety, and (3) explain
             that no EPA reporting was necessary because the planned work was routine and voluntary.

             The EPA also assuaged Ms. Gjovik's concerns, letting her know on June 7, 2021 that the Agency "believ[ed]
             the remedy in place at the [site] remain[ed] protective" and that "[f]or a site where conditions are protective
             of human health there is no specific EPA requirement to notify each site visitor or construction or office
             worker of a mitigated potential risk." Because Apple as well as the EPA responded to Ms. Gjovik's concerns
             regarding workplace safety through multiple conversations and wnltten communications, her continued
             repetitions of the same concerns were not reasonable and do not constitute "protected activity" that can
             supply the predicate for a retaliation claim.




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                      C.      Apple's Decision to Terminate Ms. Giovik for Policy Violations Was Removed From
                              Her Alleged Protected Activity.

             Ms. Gjovik's alleged protected activity is too remote in time to suggest that any of her expressions of
             ooncem were in fact the true reason for her September 2021 termination. For her OSHA and CERCLA
             claims (premised on the same alleged protected activity), Ms. Gjovik first raised concerns in March 2021 ,
             six months before her termination, and Apple met with her multiple times in March, April, May, June, and
             July 2021 to both discuss her safety concerns and explain that Apple was doing routine preventative
             evaluation, maintenance, and testing to mitigate the potential for vapor intrusion. As for SOX, Ms. Gjovik's
             Complaint claims that she raised concerns about Mr. Sugar's alleged conflict of interest in July 2021, almost
             two months before her termination. See, e.g., Carr v. West L8 Admin., Inc., 171 F. Supp, 2d 302, 309-10
             (S.D.N.Y. 2001) (periods "as short as three months" can fail to support causal connection); Grant, 2005 WL
             6185928, at *42 (one-month temporal proximity held insufficient to demonstrate a causal connection given
             facts of case).

             Regardless, any finding of temporal proximity would be immaterial given Ms. Gjovik's intervening conduct
             - her clear violation of her confidentiality obligations and Apple policy - which operated to break any alleged
             causal chain. See, e.g., Fraser v. Fiduciary Tr. Co. init, 2009 WL 2601389, at *6 (S.D.N.Y. Aug. 25, 2009)
             (dismissing SOX claim where plaintiffs attempt to establish an unauthorized hedge fund and market it to
             respondent's clients was a legitimate intervening basis for termination), Kiopfenstein v. PCC Flow Techs.
             Holdings, inc., ALJ Case No. 2004-SOX-11, ARB Case No. 07-021, 07-022, 2009 WL 2844805, at '6 (ARB
             Aug. 31, 2009) (denying sox complaint where discovery of misconduct committed by plaintiff was
             intervening event), afl"d, Kiopfenstein v. Admin. Review Ed., 402 F. App'x 936 (5th Cir. 2010), Wiiifams,
             157 F. App'x at 570-71 (denying CERCLA complaint based on intervening event where employer fired
             complainant for obtaining unauthorized access to confidential information).

                      D.      Ms. Giovik's Allegation That Apple Suspended Her in Retaliation For Her Concerns
                              Fails Because She Requested a Leave of Absence.

             Finally, Ms. Gjovik's alleged "suspension" was not an adverse employment action at all, and thus cannot
             ground any retaliation claim. Ms. Gjovik expressly asked Apple to place her on a paid leave of absence
             while ER investigated her hostile work environment concerns. Apple granted her request and ER
             summarized their conversation in an email to Ms. Gjovik that same day. Ms. Gjovik never disputed ER's
             summary-specifically, his statement that "[p]er your request, you are now on paid administrative
             leave"-or otherwise responded to his email. Granting an employee's request for a leave of absence is not
             adverse action as a matter of law. See, e.g., Baker v. Cry. of Mered, 2011 WL 2708936, at '5 (ED. Cal.
             July 12, 2011) (no adverse action where the employer complied with employee's requests to take a leave
             of absence). Because Ms. Gjovik cannot show any adverse action, her claim for retaliation premised on an
             alleged "suspension" also fails.




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             Iv.      CONCLUSION

             The evidence demonstrates that Apple terminated Ms. Gjovikls employment because she disclosed
                                                                                              -
             confidential, proprietary information in violation of her confidentiality obligations conduct to which she has
             admitted - and refusing to participate into Apple's investigation of that disclosure. Her termination had
             nothing to do with any allegedly protected activity, on the contrary, Apple actively investigated Ms. Gjovik's
             concerns. Based on the evidence described above, Ms. Gjovik's retaliation claims should be dismissed with
             no further investigation .

             if you require any further information, please contact us.

             Respectfully submitted I

             ORRECK, HERRINGTON & SUTCLIFFE LLP
             Attorneys for Apple Inc.


                                                   \
             By;
                      Jessica R. Perry




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                1             41.      The ulduslry standard for stack design is to ensure the stacks place the vent at

                2     least 10 feet above the 1'ooftop.5!5 The National Fire Protection Association specifies minimum
                3
                      stack height of 10 13 to protect rooftop workers. For laboratory exhaust, the American Industrial
                4
                      Hygiene Association reconinlends inininluin stack height of 10 feet above adjacent roof line, and
                5
                      stack height extending one stack diameter above any screen.57 (Compare to Apple's 1 foot).
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                               Exhibit .' Annafafedphofos of the 825 Srewarf roojiop HVAC and sub-sfab vents
               25
                      is OSHA Technical Manual (OTM). Section III: Chapter 3. Ventifatiorr Imfestigorion (`"Should be 10 ft
               26
                      higher than any roof line or air intake located within 50 ft of the stack (Figure III:3-8). For example. a
               27     stack placed 30 it away from an air intake shotdd be at least 10 it higher than the center of the intake.")
                      https;h'www.oslla.gowotn1/section-3-health-llazardsfchapter-3
               28     5? ANSI/'AH-IA Z9.5 ("Be in a vertical up direction at a minimtun of 10 feet above the adjacent roof line
                      as so located with respect to opening and air intakes of the laboratory or adjacent buildings to avoid re-
                      entfry.")
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                9                        Fig. I   Flaw Recirculation Regions and Exhaust Parameters
                                                                  (Wilson 1982)
               10
               II                            ExJ*tfbif.' Exhaust Diagram _#oar ASHRAE Han'n*book.ss

               12              42.   Apple penetrated the slab (concrete floor) of the building at 825 Stewart Drive in

               13     late 2015. US EPA records note that "tenant improvements perjbrmed in late 20/5                     included
               14
                      penetration and subsequent re-sealing ofrhe concrete siabfor instalfarion ofaddffionafpiping
               15
                      and ul'iffffes.=159 Apple claims only AECOM Lnspected the floor prior to penetration and after
               16
                      sealing." Under information and belief, Apple never engaged au independent professional
               17

               18     engineer for inspection and certification as Nollllrop G1'Ln11ul:lau did in May 2015.

               19              43.   In May 2015, vapor intrusion testuig at 825 Stewart Drive showed indoor air

               20     pollution of Tlicllloroethylene (TCE), 1,2-Dichloroetheue (1,2-DCE), Toluene, ClJdoroflo1*111.
               21
                      Methylene Chloride, and Ethylbeuzene. The testuig also showed outdoor air coutaluiuation 011
               22
               23
               24

               25
                      is 2019 ASHRAE Handbook-HVAC Applications. BUILDING AIR INTAKE AND EXHAUST
               26
                      DESIGN. pg 46.2. httpszhrwww.ashrae.org/file%201ibrary!teclmica1%20resources.='ashrae%20ha11dbool-u'i-
               27       al9_ch46.pdf
                      9°IAECOM for Apple. Vapor Blhwsfan E1'nfun1*i¢2n Report, .Former TRWM?crowave Site, 825 Stewart
               28     Drive Slim.v\'n:'e, Cnlulornfrr,US EPA SEMS-RM DOCID # 1158560 (February 2016),
                      https:Msemspub.epa.gow'workf09f'1158560.pdt`
                       ' Id.
                                                                               24
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                1     outdoor aiI.?6 (Note: 3 pg/111 of TCE in indoor air from vapor intrusion is unacceptable for

                2     commercial buildings).
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                                       Figure B. TCE Conoeniraliona in Outdoor Air

               14                      Filth Five-Year Review - AMD 9011902 and TRW Superfund Sites and the O11$ite ou

               15
                                          Exhibit." TCE in the Outdoor Air fife Triple Sire, 20/9 in
               16
                               55.   111 2020, Northrop Grumman described the Triple Site and TRW Microwave site
               17
                      to the US EPA saying,
               18

               19               "The Triple Site plume in the Santa Clara Valley represents a classic example

               20               o f a 'complex contaminated groundwater' site"                                    Despite more than three
                                decades of intense characterization and 1'e111ediatio11 efforts, ulcluding nearly
               21
                                four decades of groundwater pump and treat system operation from multiple
               22
                                locations across the plume since 1982, significant uncertainties remain
               23
                                regarding subsurface fluid How, plume containment, and restoration
               24
                                timeframes. Remedy perfo11J:\anf:e has lagged far behind expectations                                   78

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               28     *" Id.
                      1? Id.
                      TG US EPA. Development of The Environmental Sequence Stratigraphy. supra at pgl6.
                                                                                                 30
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                1
                                 From' Ashley Gjovlk <ashle\q;iovik@idoud-oom>
                2                Sent: Wednesday, April 21, 20219:29 PM
                                 To: Schulman, Mid'laeI <Sd1uIman.MichaeI@epa.g¢Lf.»
                3                Subject: Questions about TRW Microwave (Building 825] in Sunnyvale CA
                                 CAD009159088
                4
                5                Hi Michael! I hope you're well.

                6                I wood 'for Apple In the TRW Microwave (Building 825) site in Sunnyvale - part of the
                                 "Triple Site."
                '7
                                 I have some concerns about the current status of the building. l'm talking to our EH&S
                8                team at work about it and they said l'm allowed to reach out to you and talk to you
                                 directly as well.
                9
               10                l've skimmed the majority of the site documentation on the EPA and Water Boards
                                 portals. (Thanks for adding the 2019 FYRI) Apple also shared the Dec 2015 indoor air
               II                testing summary.

               12                Would you be open to a phone call to discuss the site and some of my open technical
                                 questions? I can talk before 10'30a or between 2-4pm tomorrow, or anytime Friday
               13                before 11am, or between 12-2, or after 3pm.

               14
               15                                       Exeerpf: (§owlk Email to EPA 4/21

               16             250.     On Ap r i l 23 2021 , the US EPA told Apple that Gjovik contacted them about her

               17     Apple office. EPA's emails about Gjovik's questions and concerns advised., per Fatima Ty, that
               18
                      Apple should be included in any conversation that the US EPA had with Gjovik about the TRW
               19
                      Microwave Superhlnd site. Ty justified this requll'emetlt due to Ty's work "in EHS at IBM" US
               20
                      EPA (Margot Perez-Sullivan, Fatima Ty, Edwin "Chip" Poaliuelli, and Michael Schulnlan)
               21
               22     drafted an email to Gjovik infomling Gjovik they told Apple that Gjovik contacted them, but

               23     never sent it.

               24             251.     On April 29 2021, Gj ovik visited an occupational exposure doctor (Dr. Robert
               25
                      Harrison who directs the UCSF Occupational Health Services department and the Worker
               26
                      Investigation Program for California Department of Pllblic Healthy), about her exposure at
               27

               28

                      131 UCSF. Dr. Robert Harrison MD MPH. https:Wprofiles.ucs£edW1'ober1.han'ison

                                                                            94
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    8/9/22, 10:37 PM                                    Sent I ashleymg]ovlk@protonmall.com I Pro on Mall



      New police report about Apple breaking into my apartment, again
      From Ashley Gjovik <ashleymgjovik@protonmail.com>
      To      Sollett, Mathew<Mathew.SolIett@nlrb.gov>, Diangco, Andrea OSHA<Diangco.Andrea@doI.gov>,
              DIR OSHAFAataliation<OSHARetaliation@dir.ca.gov>
      Date Tuesday, August 9th, 2022 at 10:36 PM


      Note for my CA DOL DIR Retaliation, US NLRB, & US DOL WPP cases against Apple Inc

      Hi,

      There's new apartment break in to add to the file. It appears Apple broke into my Santa Clara attic last fall, probably
      to install surveillance equipment.

      I'm preparing to move apartments and am having move out discussions with the current landlord. Back in September
      last year (i don't remember the exact date) i heard two men Up in my attic installing/repairing things for about 2-3
      hours. It's always seemed weird & bothered me so I finally talked to my landlord about it.

      The landlord has no record of them/maintenance/vendors ever being Up in my attic during my lease.

      I tried to go up there last week and my ladder wasn't tall enough & there was something alive up there (mouse? bat?)
      so I quickly retreated - but I was first able to snap some photos & videos of weird wiring/cables that looked out of
      place.

      My landlord said they have no idea what that wiring/cables are & were not expecting them to be there.

      Info security friends for some time now have suspected Apple may have tried to intercept my home internet directly
      and/or installed surveillance equipment wired into my electrical so they don't have to replace batteries. There's also
      now a theory that they could also be using auditory weapons as well - l'm trying to find a spectrum analyzer -
      apparently infrasound can be used to cause anxiety/distress and other peculiar side effects. It would make sense for
      them to try along with their CIA-style psyops of online harassment & other manipulation. The dystopian future really
      sucks.

      So this is now the working theory of what they must have done in my attic in September. I assume Northrop
      Grumman (Ronald Sugar's company) helped - as they literally build military & private security spyware as one of their
      product lines.

      There is attic access from the individual apartments - but I was in my apartment at the time. The working theory for
      that is they must have hacked into the digital locks of an adjacent apartment (there was one vacant next to mine) and
      found their way into my attic space from that other unit's attic space.

      My landlord had no other explanation for how men could be in my attic space if they did not go Up through my closet.

      I reported it to the FBI to add my file with them yesterday, August 8 2022. The FBI still won't confirm ifI have an open
      case or if anyone is actually looking into any of this.

      The FBI did tell me to also file a police report with the local police department. I filed a report with the Santa Clara PD
      today - it's incident number 0087 for Aug 9 2022. He said he'd follow up with the landlord about the repeated break-
      ins & also to ensure whatever is in the attic is dealt with before someone else moves in.

      Please add to my cases. Thank you.

      PS: My landlord tried to get me to sign a big NDA/ confidentiality agreement about it last week, but I refused.

      _




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                                                      Ashley M. Gin-in. J.D.
                                                       @ ash Ieyglovl k                                                                                     Relevant people

       it    Exp l ore                  Agents of Apple referred to my protected activities as                                                                       Ashley PA. Gjavlk, J.D.
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                                        from a "car accident," noted I was deserving of "death                                                                       norrupijon, pollution, 8
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                                        severed head
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        8     Messages                      I sequestered the statue for the weekend

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                                   They call themselves the Worldwide I.oyalty Team. Among some employees,
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                                   they are known as the Apple Gestapo, a group of moles always spying in
             16                    l1eadqlla11ers and stores, reporting directly to Jobs and Oppenheimer.
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                                                        Exhibit: Apple Gestapo Article 495
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                            925.      Worldwide Loyalty engages ill other activities drat include individuals and groups
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                    outside of Apple Inc. The group was "known far its network of ifgfonuers cafrm' nr tfrless, s.vs!er:1fc
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                    pirrsrdt of Makers ." 496 The team has an "::ndfscll'osed nunrber of fnvesHgat»:>rs aramid fire world"
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             22     (foreign commerce) to control information and prevent "lemurs" from reaching "rise press," and to

             23     "lfufff down" the source whe11 leaks occur.**4-97 The team also has a sub-team called "Secrecy

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                    495 Jesus Diaz. Apple Gestapo: How Apple Hunts Down Leaks. Gizmodo. Dec 15 2009.
             27     https:Hgiz:uodo.cou1fapple-gestapo-how-apple-hunts-down-leaks-5427058
                    496 Ryan Tate. Apple's Sleazy Secret Police Lose Their Leader, Gawker. Nov 4 201 l,
             28     https:Hwww, gawlqe[.coIw'58562601apples-sleazy-secret-police-lose-thee-leadq;
                    497 William Tl1l'toI1. Leaked Recora':'ng.' Inside Apple 's Global War an Leakers. The Outline. June 20
                    2017. https :HtheoutIh1e .colWpostfl T66,tleaked-recordiug-lmside-apple-s-global-war-on-leakers
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               15                                      Exhibit: "Never mind Ike dcrrrble My "

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                              886.    Under California Penal Code § l36.l(c), Apple's acts of witness intimidation (§
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                      136. la-b) would be felonies when they were accompanied by an express or implied threat of
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                      force or violence against Gjovik 01' her properly, where Apple's acts were in furtherance of a
               19
                      larger conspiracy, and where the acts were committed for pecuniary gaul.443 Apple attempted to
               20
               21     influence Gjovikls legal filings and contracts through threats and menace in violation of state

               22     and federal witness tampering statutes.444
               23
                             887-     Apple engaged in threats and actual acts of violence against Gjovilc and her
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                      property, including physical violence, psychological violence, emotional violence, and moral
               25
                      harassment. Numerous California cases (cntnnlal threats, domestic violence, custody battles, and
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               28     443 California Penal Code. "CHAPTER 6. Falsifying Evidence. and Bribing. Influencillg. intimidating or
                      Threatening Witnesses." § 136.l(a).(b).(c).
                      444 Cid. Code § 15701 Od'orllz"i v. Bfoomjield See. Dist. (1996) 246 Cal. App. 2d 123. 128.
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                                           Asked the FBI to take 8¢ analyze the statue for spycraft                                        comlpiion, pollution, f
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